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                   UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
                       CHARLESTON DIVISION




                                             MDL No. 2:18-mn-2873-RMG

IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION

                                             This Document relates to:
                                             ALL CASES




PLAINTIFFS’ OMNIBUS OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL
   SUMMARY JUDGMENT ON THE SECOND AND THIRD PRONGS OF THE
            GOVERNMENT CONTRACTOR IMMUNITY DEFENSE
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          Plaintiffs, through Co-Lead Counsel for the Plaintiffs’ Executive Committee (“PEC”),

respectfully submit this Omnibus Opposition to Defendants’ Omnibus Motion for Partial

Summary Judgment on the Second and Third Elements of the Government Contractor Immunity

Defense; Defendant 3M Company’s Motion for Partial Summary Judgment on the Second and

Third Elements of the Government Contractor Immunity Defense; and the Telomer MilSpec AFFF

Manufacturers’1 (hereinafter referred to as “Telomer Defendants”) Motion for Partial Summary

Judgment on the Second and Third Elements of the Government Contractor Immunity Defense

and its accompanying memorandum [ECF Nos. 2346-1, 2347 & 2348] [“Defendants’ Omnibus

Mem.,” “3M Mot.,” and “Telomer Defendants’ Mem.,” collectively “Defs.’ Mot.”].

          In Defendants’ Omnibus Mem., there is a section entitled “Common Undisputed Facts.”2

Despite this misleading title, these facts are disputed and thus Plaintiffs object to this

characterization of these “facts,” and, in response, refers the Court to Plaintiffs’ Statement of

Material Facts in Dispute, which is attached hereto as Appendix A.




1
 The “Telomer MilSpec AFFF Manufacturers” are Tyco Fire Products LP (formerly The Ansul Company),
Chemguard, Inc., the Kidde Defendants, National Foam, Inc., and Buckeye Fire Equipment Company.
2
    See Defs.’ Omnibus Mem. at 8-10.



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I.         INTRODUCTION

           Defendant 3M and certain of the telomer aqueous film-forming foam (“AFFF”) Defendants

(“Defendants”) have moved for partial summary judgment on an affirmative defense arguing that

they are entitled to government contractor immunity under Boyle v. United Technologies Corp.,

487 U.S. 500 (1998) [ECF Nos. 2346, 2347 & 2348].3 As the parties with the ultimate burden of

proof,4 these Defendants have failed to demonstrate that no genuine issues of fact exist as to each

prong of Boyle, i.e.: (1) that MIL-F-24385 has reasonably precise specifications, including that the

government continued to use C8-containing AFFFs with full knowledge of all the harms associated

with these products;5 (2) that their AFFFs conformed at all relevant times to the allegedly precise

specifications; and (3) that they warned the United States with all material information about the

dangers of AFFF known to them that was unknown to the government. Their motions (including

their original motion for summary judgment)6 should be denied.

           As a threshold matter, this case is profoundly different and clearly distinguishable from

every other case cited by Defendants in which the government contractor defense was deemed

applicable. The most notable distinction is that, here, Defendants, have, at all times, and more

importantly, at the time of the underlying events themselves, denied the very existence of any

defect as it relates to C8-containing AFFF. Conversely, in every case cited by Defendants –




3
    These motions pertain specifically to Boyle prongs two and three.
4
  Under Boyle, the Defendants have the burden of “[satisfying] the requirements of the military contractor defense.”
Id. at 514 (citation omitted).
5
 As the Court is aware, the Parties previously briefed Boyle prong one. Plaintiffs incorporate by reference the relevant
parts of their arguments contained in their prior briefing regarding Boyle prong one, Pls.’ Opp. To Defs.’ Mot. For
Partial Summ. J. on the First Element of the Government Contractor Immunity Defense [ECF No. 2063] (“Plaintiffs’
Original Opp.”).
6
  See Defendants’ Omnibus Memorandum of Law in Support of their Motion for Partial Summary Judgment on the
First Element of the Government Contractor Immunity Defense (“DCC’s Original Mem.”) [ECF No. 1965-1].



                                                           1
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whether the defect at issue be a frayed parachute,7 a defective rotor,8 a missing rearview mirror,9

or the presence of trace levels of dioxin in Agent Orange10 – the defendants in each of those cases

acknowledged at the time the product was being used by the government that the product at issue

either had a defect and/or had the potential to cause harm, and, in some cases,11 even discussed

with the government proposed solutions to the defects.12 In short, in those cases, no question of

fact existed as to the presence of the alleged defect. In the absence of such factual disputes over

the existence of a product defect, those courts were able to reach conclusions as a matter of law

regarding the applicability of the government contractor defense.

           In direct contrast, here, Defendants have at all relevant times, and continuing to this day,

denied that C8-containing AFFFs are defective13 or have the potential to cause harm to people,14


7
    Lewis v. Babcock Indus., Inc., 985 F.2d 83 (2d Cir. 1993).
8
    Dowd v. Textron, Inc., 792 F.2d 409 (4th Cir. 1986).
9
    Gauthreaux v. United States, 694 F. Supp. 2d 460 (E.D. Va. 2009).
10
     Agent Orange Prod. Liab. Litig., 304 F. Supp. 2d 404 (E.D.N.Y. 2004).
11
  See, e.g., Dowd, 792 F.2d at 412 (Army “discussed the problem at some length with [contractor]”); Yeroshefsky v.
Unisys Corp., 962 F. Supp. 710, 721 (D. Md. 1997) (Government “rejected a number of [contractor’s] proposals to
improve the [product’s] design”).
12
   In anticipation of this point, the DCC made the specious distinction in their brief related to Boyle prong one, that in
each of these government contractor cases the defendants “denied” the existence of a defect with respect to the product
at issue. See DCC’s Original Mem., at 48-49. Such characterization of those cases is disingenuous because such denials
occurred only in the context of litigation. However, the undisputed facts in those cases, which weighed heavily in
favor of finding government contractor immunity, are that the government contractor did not dispute the fundamental
claim that there was, in fact, a defect in the product at issue at the time of the events themselves, in stark contrast to
the facts here.
13
   As the Court is aware, Plaintiffs here allege that C8-containing AFFFs are defective. As it pertains to 3M, this “long-
chain” defect involves the intentional addition of PFOA and PFOS into 3M’s MilSpec AFFF. With respect to the
Telomer Defendants, Plaintiffs allege that these Defendants’ telomer-based AFFFs are defective insofar as the
Telomer Defendants intentionally added fluorosurfactants containing C8 molecules into their AFFFs that can degrade
to PFOA in the environment (i.e., C8s that are PFOA precursors). A precursor chemical is a chemical capable of
transforming into another compound through chemical reactions.
14
  The Defendants have always collectively maintained that PFOA and PFOS at the levels found in the environment
and human blood, both today and historically, do not and have never posed a risk of harm to human health. See, e.g.,
Plaintiffs’ Exhibit (“Pl. Ex.,” referring to the exhibits to Plaintiffs’ Original Opp.) 47, Reich Dep Ex. DL49, 3M
phaseout announcement, at 3M_AFFF_MDL00207575 (3M stating that “[a]ll existing scientific knowledge indicates
that the presence of these materials at these very low levels does not pose a human health or environmental risk.”);
see also Tyco’s website (claiming that Regulatory agencies have not found a cause-and-effect relationship between


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a falsehood they have repeated throughout the decades, and which has had direct consequences on

the government’s understanding of the potential risks associated with the use of AFFF. Perhaps

unwittingly, through this decades long campaign of denial, Defendants have created their own

question of fact: how can it be that the government had actual knowledge of the defects of C8-

containing AFFFs, and knew that use of C8-containing AFFF posed a risk of harm to human life,

yet continued to use it anyway, when the Defendants deny such a risk of harm ever existed?

         In addition to being fundamentally distinguishable from the cases cited by Defendants

wherein the government contractor defense was implicated, Defendants have likewise failed to

establish either that their AFFFs were consistently in conformance with MIL-F-24385’s

specifications (Boyle prong two) and/or that they were fully transparent with the government with

respect to their knowledge of the dangers posed by C8-containing AFFFs (Boyle prong three). As

the Court recognized during the March 25, 2022 telephonic hearing, Boyle prongs one and three

are intertwined.15 More specifically, what the government knew or did not know about the harms

to humans associated with the use of C8-containing AFFF is, in part, informed, or more aptly

misinformed, by what industry told them, which resultantly leads to the overlap of Boyle prongs

one and three. As set forth below, the evidence in this case demonstrates that the government’s

actual knowledge16 of the potential harms to humans associated with C8-containing AFFFs was

heavily influenced by industry misrepresentations, outright denials, and delays in the disclosure of

significant risk information, and, at all relevant times, was far inferior to Defendants’ knowledge.




PFAS and human disease, and the effects observed have not been consistent),                           available   at:
https://tycomarinette.com/the-science-of-pfas-and-firefighting-foam/ (last visited June 17, 2022.)
15
   See Mar. 25, 2022 Telephonic Hr’g Tr. [ECF No. 2261], at 3:7-13 (stating that there is overlap between Boyle
prongs one and three).
16
  As is discussed more fully herein, under Intel Corp. Invest. Policy Comm. v. Sulmya, 140 S. Ct. 768 (2020), “actual
knowledge” means the actor must “in fact have become aware of that information.” Id. at 777.

                                                         3
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         More particularly, when the evidence is viewed in its totality, it is abundantly clear that the

government was not merely misled by industry, but, in fact, was outright lied to deceived into

believing that the continued use of C8-containing AFFFs was safe and posed no threat to the

environment and/or the American public. This industry deception becomes even more patent when

juxtaposed with Defendants’ actual knowledge of the harms to humans associated with C8-

containing AFFFs over time. Notably, none of the cases cited by the Defendants are characterized

by this level of industry malfeasance. The AFFF story reads like that of the tobacco industry’s

decades of denial, manipulation, and deceit regarding cigarettes, addiction, and lung cancer; here,

in the case of AFFF, such conduct resulted in the widespread contamination of virtually an entire

planet with the harmful forever chemicals, PFOA and PFOS.17

         In fact, in 2005 and 2006, and, as is more fully discussed below, DuPont and 3M,

respectively, were each fined substantial penalties for failing to disclose “significant risk

information” regarding both PFOA and PFOS. In 2006, the then EPA Administrator, Stephen

Johnson, noted in regard to PFOA that there are “many … critical information gaps that exist

around our understanding of potential exposures and risks.”18 These fines, specifically levied for

the withholding of “significant risk information“ are virtually res ipsa evidence of industry

withholding critical information regarding the dangers of PFOA and PFOS, thereby depriving

government of its ability to fully and completely know, understand or appreciate the potential risk

of harm from use of AFFF, while at the same time illustrating in black and white the disparity in



17
 See Butenhoff Dep. Exs. LP3 & LP34, attached to London Decl. as Exs. 128 & 129, respectively (identifying the
multiple environmental media in which PFOA and PFOS can be found).
18
    See EPA Press Release, dated Apr. 25, 2006, attached to London Decl. as Ex. 130, available at:
https://www.epa.gov/enforcement/3m-company-settlement (last visited June 17, 2022); see EPA Press Release, dated
Dec. 14, 2005, attached to London Decl. as Ex. 131, available at: https://www.epa.gov/enforcement/reference-news-
release-epa-settles-pfoa-case-against-dupont-largest-environmental (last visited June 17, 2022); see also Def. Ex. 106,
at FF_NAVY11_00432968.

                                                          4
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the level of knowledge between industry and government.19 This is only one of many demonstrable

instances of similar industry misdeeds described in greater detail below, which make clear that the

Defendants cannot meet their burden under Boyle or demonstrate their entitlement, as a matter of

law, to the extraordinary relief they request; immunity from liability.

II.        FACTUAL BACKGROUND

           A.      3M’s Efforts to Conceal the Dangers of its Products Does Not Justify
                   Immunity

           Rather than admit or acknowledge that it was aware of harms to humans associated with

its AFFFs, 3M spent decades denying that harms existed and delaying disclosure of significant

risk information, and proactively engaged in conduct intended to deceive the scientific community

and the public at large. For example,

                          ,”20 and the Fluoro-Chemical “crisis management”21 team in an obvious

attempt to limit reputational damage stemming from C8-chemistry and to influence the scientific

community.




                   .22




19
  As the Court recalls, during the telephonic conference of April 6, 2022, the Court noted in response to Plaintiffs’
concern that DuPont and Dynax would not be parties to this motion: “I know you want to get in information that you
believe is misinformation provided by these two defendants. To the extent that it in combination of other information
was misleading the Government, I think you can mention that without having me address the issue of their availability
for government contractor immunity.” See Apr. 6, 2022, Hr’g Tr, at 26: 2-8.
20
     See Bacon Dep. Ex. DL144, attached to London Decl. as Ex. 132, at 3M_BELL03195195.
21
     See Pl. Ex. 16, Santoro Dep. Ex. DL187, at 3M_AFFF_MDL01092219.
22
     See Weppner Dep. Ex. BB76, attached to London Decl. as Ex. 133, at 3M_BELL02614819-823.

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                  .23




                                                                                 ).24

                                                                                                       ”25



          .” 26 This effort resulted in 3M successfully infiltrating major scientific journals with editors

who were on their payroll for the purpose of, for example, keeping “bad papers out of the

literature,” 27,28 to “hide the winnie [sic],”29 and paid those persons in a way “so there was no paper

trail to 3M . . . .”30 In so doing, 3M concealed substantial evidence of harm caused by its products

to humans and the environment, thereby misleading the government and the public.

           The evidence reflects that this conduct, in connection with significant misrepresentations,

had a profound effect on the government’s understanding of the potential harms caused by AFFF.




23
     See 3M_BELL02615371, attached to London Decl. as Ex. 134, at 3M_BELL02615392-5396.
24
     See, e.g., Bacon Dep. Ex. DL144, Ex. 132, at 3M_BELL03195233.
25
     See 3M_BELL02615371, Ex. 134, at 3M_BELL02615396.
26
     See, e.g., Bacon Dep. Ex. DL144, Ex 132, at 3M_BELL03195225-231.
27
     See Bacon Dep. Ex. BB122, attached to London Decl. as Ex. 135, at 3M_MN05334325.
28
     See 3M_MN05334328, attached to London Decl. as Ex. 136, at 3M_MN05334329.
29
     See Bacon Dep. Ex. DL293, attached to London Decl. as Ex. 137, at 3M_BELL00039088.
30
     See Bacon Dep. Ex. DL296, attached to London Decl. as Ex. 138, at 3M_BELL00039446.

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For example, despite publicly claiming that its AFFF was “safe to use;”31 “relatively innocuous;”32

and “practically nontoxic;”33 3M internally described PFOS34 as “insidiously toxic”35 – a

classification which was never shared with anyone outside of 3M. In fact, as far back as 1979, 3M

internally considered PFOS to be more toxic than even PFOA.36 This discrepancy (i.e., between

3M’s internal knowledge of PFOS toxicity and its misrepresentations to AFFF users (including

the United States), that its AFFF was safe), creates an issue of fact in and of itself that requires a

determination as to whether the Department of Defense (“DoD”) continued to use C8-containing

AFFFs with actual knowledge of all potential for harms associated with its products given the

information or lack of information it was provided by industry, including 3M. It likewise creates

a clear issue of fact with respect to whether 3M was fully transparent with the government with

respect to the dangers it knew that were posed by C8-containing AFFFs, which, the evidence

confirms, it was not.

           Perhaps the most critical piece of evidence in this regard, which is discussed in greater

detail below,37 is 3M’s failure to disclose to the Environmental Protection Agency (“EPA”) that

PFOS had been found in the blood of the general population as early as 1975. Despite this



31
   See Schuster Dep. Ex. LP841, attached to London Decl. as Ex. 139, at 3M_GU00267402 (3M stating that, “3M
Class B foam agents currently in the field are safe to use and, under proper storage conditions, will remain effective
for years.”) See also 3M’s current website stating that, “[t]he weight of scientific evidence from decades of research
does not show that PFOS or PFOA causes harm in people at current or past levels”), available at:
https://www.3m.com/3M/en US/pfas-stewardship-us/health-science/ (last visited on June 17, 2022).
32
     See Pl. Ex. 98, Darwin Dep. Ex. DL53, at Navy02-00007167.
33
     See Pl. Ex. 102, Walker Dep. Ex. BB816, at 3M_BELL01440788.
34
  PFOS is the C8 fluorosurfactant in 3M’s LightWater® AFFF, which is a unique compound made almost exclusively
by 3M. See, e.g., Pl. Ex. 9, Walker Dep. Ex. DL156, at 3M_BELL01511645-46
35
     See Butenhoff Dep. Ex. DL1, attached to London Decl., as Ex. 140, at 3M_BELL00827716.
36
  See Butenhoff Dep. Ex. DL15, attached to London Decl. as Ex. 141, at 3M_BELL00039929 (a 3M internal review
of various animals exposed to both FC-143, also known as PFOA, and FC-95, also known as PFOS, concluding that
PFOS was the more toxic of the two and “certainly more toxic than anticipated.”)
37
     See § IV.B, infra. See also Pls.’ Original Opp. at 11-15.

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knowledge of widespread PFOS exposure in the general population as of 1975, 3M failed to inform

EPA until 1998.38 Moreover, the record demonstrates that 3M’s lawyers urged 3M scientists to

withhold from the public and the government that PFOS had been found in the blood of the general

population..39 Clearly, this important and material piece of information is of the type that would

have impacted regulatory decision-making had it been revealed to governmental authorities

sooner.40 Even after 3M disclosed this crucial fact to the EPA, 3M continued to reassure the

government and the public that there was no danger to human health at the levels at which this

chemical was found both in the environment and the blood of the general population.41

               More particularly with respect to AFFF, following 3M’s May 16, 2000, announcement of

their intention to phase out perfluorooctanyl chemistries,42 3M sent a letter to end users of their

AFFFs, which includes DoD, reassuring them that despite the phaseout, “use of these products

does not pose a risk to people,” that AFFF products “are safe to use” and “will remain effective

for years,” and further stating that “there’s no reason to return any of these products you may have

in your inventory.”43 3M has never once wavered from these claims in over 20 years; again begging

the question, how could it be argued that the government used AFFF allegedly knowing of the

potential harms resulting from AFFF use when the Defendants themselves have denied there is


38
  See Pl. Ex. 50, Gerber Dep. Ex. DL353, at 3M_BELL02796621 (3M’s 1998 8(e) filing wherein it finally informed
EPA that PFOS had been found in the blood of the general population).
39
  See Pl. Ex. 20, Gerber Dep. Ex. LP68, at 3M_BELL00054594 (stating that “3M lawyers urge [Central Analytical
Laboratory] not to release the true identity (PFOS) of the [fluorine]compound.”)
40
  In fact, the record establishes that it was the reporting of PFOS in blood of the general population that prompted the
EPA to investigate PFOS. See Pl. Ex. 51, Letter from Charles Auer, EPA’s Office of Pollution Prevention and Toxics
(“OPPT”), to Scott A. Masten, Ph.D., NIEHS, dated Aug. 7, 2003, at 3M_AFFF_MDL01669634 (stating that, “OPPT
has been assessing perfluorinated compounds since 1999. This interest was prompted by reports submitted to the
agency describing the toxic properties and widespread presence in the environment, including human populations,
of…[PFOS]”) (emphasis added).
41
     See Pl. Ex. 47, Reich Dep. Ex. DL49, at 3M_AFFF_MDL00207575-576.
42
     See id.
43
     See Schuster Dep. Ex. LP841, Ex. 139, at 3M_GUU0267402.

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any such risk of harm in the first place, and literally encouraged its continued use? As previously

stated, at the very least, Defendants have created their own question of fact.

           Remarkably, 3M repeatedly and erroneously claims that EPA was made aware of the

presence of PFOS in the blood of the general population, long before 1998, on the basis of a single

article published in 1976 by Drs. Guy and Taves.44 Drs. Guy and Taves were looking into the

presence of fluorine in the environment, and its potential implications for dental health. During the

course of their investigation, Drs. Guy and Taves stumbled on a discovery of what they understood

to be an unknown man-made carbon fluorine compound, an “organic fluorine.” It is this paper that

the defense claims informed EPA of the presence of PFOS in the blood of the general population.

Yet, notably, nowhere in their 1976 paper can the word PFOS be found. In fact, in their paper, Drs.

Guy and Taves suggest perhaps the organic compound they discovered is PFOA, “or something

similar,” making an obscure reference to the compound potentially being a “sulphonic acid.”

Simply put, these two investigators did not know what they found and there is zero evidence

indicating they believed it to be PFOS. Now, almost 50 years later, 3M wants this Court to believe

that, on the basis of a strained reading of one article published in 1976, that the EPA, at perhaps

its highest levels knew, and understood, that PFOS was in the blood of the general population as

of 1976—something these two researchers themselves were unable to determine, partly, as is

explained in greater detail below, because of 3M’s own actions.

           Moreover, the fact that in 1998 3M felt it needed to report to EPA the presence of PFOS in

the blood of the general population and did so by way of a formal TSCA 8(e) submission (which,

by definition, means reporting previously unknown information),45 in and of itself confirms that


44
     See 3M’s Mot. at 15-16.
45
  Section 8(e) of the Toxic Substances Control Act (TSCA) serves as an “early warning" mechanism for keeping the
EPA and others apprised of new-found serious chemical hazards. It states that “any person who manufactures


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3M itself did not believe EPA to be aware that PFOS had been found in the blood of the general

population prior to 1998. In fact, following its 1998 8(e) submission to EPA, 3M claimed in

statements to the press that the finding was a “total surprise.”46

           These two positions are patently irreconcilable. That is, on the one hand that 3M would

have this Court believe that somehow the EPA, from a single article published in 1976 that makes

no reference whatsoever to PFOS, somehow knew of the presence of PFOS in the blood of the

general population, yet, on the other hand, reported this information in 1998 as new information

under TSCA 8(e) and claimed the discovery a surprise. Certainly, the foregoing begs the factual

question, if 3M’s claim is accurate, and Drs. Guy and Taves’ 1976 publication informed EPA that

PFOS was present in the blood of the general population, then why would it be necessary in 1998

to alert the EPA through a formal TSCA 8(e) submission of this information? There is no credible

answer for this question.

           In fact, and contrary to their argument now, in 1981 3M published a paper in the exact

same scientific journal as the 1976 Guy and Taves’ publication suggesting that what Drs. Guy and

Taves found was not a man-made industrial chemical at all but actually an inert naturally occurring

substance. 47 Publishing such a paper was designed in an effort, no doubt, to throw the scientific

community off the scent, and to keep the EPA from learning it was actually a chemical

manufactured by 3M at their facility in Decatur, Alabama. Yet, as more fully discussed below in




[including imports], processes, or distributes in commerce a chemical substance or mixture and who obtains
information which reasonably supports the conclusion that such substance or mixture presents a substantial risk of
injury to health or the environment shall immediately inform the [EPA] Administrator of such information unless such
person has actual knowledge that the Administrator has been adequately informed of such information.” 15 U.S.C.
§2607(e).
46
   See Pl. Ex. 52, Olsen Dep. Ex. LP193, at 3 (stating that the finding of PFOS in the blood of the general population
in 1998 was a “complete surprise”).
47
     See Pl. Ex. 59, Olsen Dep. Ex. DL884, at 1510.

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§ IV.B, 3M had already internally confirmed at their own laboratory that the compound found by

Drs. Guy and Taves was, indeed PFOS, yet published this article anyway, knowing it to be false.48

However, having been advised by counsel, 3M chose instead not to “reveal the true identity,” of

the compound discovered by Drs. Guy and Taves, that is, that it was, in fact, PFOS.49

           If the Guy and Taves “story” is notable for anything, it’s not 3M’s good corporate behavior,

but rather its patent attempt to cover up the truth about PFOS being found in the blood of the

general population, and to throw Drs. Guy and Taves and the scientific community off the trail of

identifying that the organic fluorine that was found in the blood of the general population was in

fact 3M’s PFOS.50

           Moreover, even putting aside the question of whether the 1976 publication by Drs. Guy

and Taves informed the EPA that PFOS was in the blood of the general population, which Plaintiffs

submit, it clearly did not, the uncontroverted testimony in this case is that prior to 2000 when 3M

announced its phaseout of its perflouooctanyl chemistries, the DoD did not have actual knowledge

that 3M’s LightWater AFFF even contained PFOS or PFOA. Without this basic information, the

government could never have known of the totality of dangers associated with C8-containing

AFFFs, because it did not even know what fluorocarbon surfactant was in 3M’s AFFFs. In this

regard, Robert Darwin, the former Director of the Fire Protection Division of Naval Sea Systems

Command (“NAVSEA”), who is considered the original custodian of MIL-F-24385, testified that

he did not know that PFOS was a fluorosurfactant in 3M’s AFFF until after 2000, and, prior to




48
  See Pl. Ex. 56, Gerber Dep. Ex. DL8, at 3M_BELL00054589 (stating that 3M’s laboratories’ results show that
“[PFOS] or its salts matches that presented by Guy and Taves.”)
49
   See Pl. Ex. 20, Gerber Dep. Ex. LP68, at 3M-BELL00054594 (stating that “3M lawyers urge [the 3M lab] not to
release the true identity (PFOS) of the [organic fluorine] compound.”)
50
     For further discussion on this point see § IV.B, infra.

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that time, did not have the “slightest idea” what PFOA and PFOS even were.51 Similarly, John

Farley, Director of Test Operations and lead qualifier for AFFF at the Naval Research Lab

(“NRL”), testified that prior to 2000, he had never heard of PFOS.52 If the former custodian of

MIL-F-24385 and the lead qualifier for qualification on the Qualified Products List (“QPL”)53 had

never even heard of PFOA and/or PFOS prior to 2000, then how could the government possibly

have actually known of any dangers or defects associated with the PFOS or PFOA contained within

3M’s LightWater AFFF?

         Finally, 3M’s failure to disclose to the United States the totality of its knowledge about

AFFF and PFOS, and the material nature of those misrepresentations, is substantiated by the

testimony of the United States witnesses in this case. For example,



                                                                                     .54 This confirms that the

government would have acted differently had 3M appropriately warned the government of

knowledge it had concerning dangers associated with PFOS and PFOA that were unknown to the

government. Instead, 3M subverted the government’s ability to employ its discretion over the

design of AFFF, which contradicts the very purpose of affording it immunity.




51
   See Pl. Ex. 2, Darwin Dep. Tr. Vol. I, at 109:6-21 (testifying that prior to 2000, he did not know that PFOS was a
fluorosurfactant in 3M’s AFFF, had never heard of PFOS, and did not have the “slightest idea” what PFOA and PFOS
were).
52
  See Pl. Ex. 35, Farley Dep. Tr. Vol. I, at 89:15-24 (confirming he learned that PFOS was in 3M’s MilSpec AFFF in
approx. May 2000).
53
   As the Court well knows, the QPL is a list of products deemed to have met the requirements stated in the applicable
specification, regulation, etc., here the applicable military specification is MIL-F-24385.
54
  See Dep. Tr. of Robert Darwin (Vol. II), dated Apr. 29, 2021, attached to London Decl. as Ex. 142, at 354:21-
355:13.

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                                          .”62




                                                               .”63 These half-truths interfered with the

government’s understanding of the dangers posed by C8-containing AFFFs and its discretionary

decision to utilize AFFF products. Absent assurances that “the government, and not the contractor,

is exercising discretion in selecting the design,”64 immunity under the GCD should not be

available. Because the government lacked knowledge that it was using AFFFs that contained

PFOA precursors that could degrade into PFOA and/or PFOS, the Defendants cannot assure it

knowingly continued to use AFFFs containing PFOA or PFOS in the first place, let alone

knowingly used such foams with actual knowledge of the harms such foams present. At the very

least, the telomer Defendants’ misrepresentations, coupled with the testimony of many of the

government witnesses who relied on those misrepresentations, present genuine issues of material

fact as to whether or not the government had actual knowledge that the AFFFs on the QPL

contained PFOA and/or its precursors that could degrade into PFOA, and/or that it continued to

use such AFFFs knowing of an actual risk of harm.

           Despite the Telomer Defendants distancing themselves from PFOA and/or its precursors,

internal and confidential industry documents from 2001 make clear that the telomer industry knew,

and, in fact, considered it to be “common knowledge” within the industry, that the C8 compounds



62
     See Pl. Ex. 111, Novac Dep. Ex. DL1134, at AFFFTC00418728.
63
     See Regina Dep. Ex. DL480, attached to London Decl. as Ex. 150, at NF000063181.
64
  Miller v. Diamond Shamrock Co., 275 F.3d 414, 419 (5th Cir. 2001), quoting Stout v. Borg-Warner Corp., 933
F.2d 331, 334 (5th Cir. 1991).

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used in their AFFFs degrade to PFOA in the environment.65 Their failure to share their internal

information with the DoD (which was unaware of the information) dooms their entitlement to

immunity.

         C.       Defendants’ References to Trace Unintended Levels of PFOA Fail to Address
                  the Actual Defect Posed by the Intended Use of C8’s that degrade to PFOA.

         In their motions for summary judgment, the Telomer Defendants repeatedly misrepresent

Plaintiffs’ claim, deliberately conflating two distinct concepts: (1) trace unintended levels of PFOA

that have not caused widespread PFOA contamination (the equivalent to 0.0000015% of the

product for example);66 and (2) the Defendants’ intended use of PFOA and/or their precursors in

quantities far greater than trace inconsequential levels – sometimes comprising 100% of the

surfactant itself and no less than 23%.67 Again, Plaintiffs are not claiming that trace levels of

unintended PFOA byproduct produced through the telomer manufacturing process are the defect

in C8-containing AFFFs. Rather, Plaintiffs claim that the defect at issue with respect to C8-

containing AFFFs is the much larger percentages of intended PFOS, PFOA, and/or PFOA

precursors (ranging from 25% to 100% of the fluorosurfactant) that have caused the widespread

PFOA and PFOS contamination that exists today.68 Had these compounds not been used, and in



65
  See Regina Dep. Ex. DL461, Ex. 147, at Kidde_Defendants_00069655 (stating in 2001 that the “common
understanding of telomer-based fluorosurfactants is that they break down to carboxylates. Most of the telomer products
would also have mixed distributions, so that rules out breaking down to only PFOA.”).
66
   See Expert Report of Plaintiffs’ Expert Gregory M Walton, P.E., an excerpt of which is attached to the London
Decl. as Ex. 151 at 19-20; see also, Fiedler Dep. Ex. DL1721, attached to the London Decl. as Ex. 152, at AGCCA-
AFFF-00006914.
67
   While empirically speaking it is true- there are unintended trace levels of PFOA even in today’s 99% based C6-
telomer AFFFs, these trace amounts have no effect on performance and are inconsequential in terms of the contribution
to the widespread contamination that exists today. See Expert Report of Gregory M. Walton, P.E., Ex. 151, at 5.
68
   It is undisputed that the Telomer Defendants used fluorosurfactants containing C8/PFOA precursors in percentages
ranging between 23% to 100%. See Pl. Ex. 118, Dep. Tr. of Eduard Kleiner, at 316:14-22 (testifying that DX2200 is
100 percent C8 based); see also Regina Dep. Ex. DL247, attached to London Decl. as Ex. 153, at
Kidde_Defendants_00151888 (stating that DuPont’s fluorosurfactant 1157N is 23% C8-based), far greater than the
trace unintended levels that are a fraction of even one percent. See Expert Report of Gregory M. Walton, Ex. 151, at
5, 17-24.

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management decisions regarding the use of potentially hazardous materials.73 With respect to

PFOA and PFOS, that relevant risk assessment did not occur until 2016, when the EPA issued its

HAL, at which time the DoD immediately instituted a policy to remove and replace legacy foams

containing PFOA, PFOS and/or their precursors.74

               The risk assessment process, as outlined by the American Chemistry Society (“ACS”), of

which numerous Defendants are members, is a lengthy one that involves: (1) hazard identification,

(2) a dose response assessment, (3) an exposure assessment, and (4) a risk characterization.75 The

first step requires identifying adverse effects posed by an exposure, the second step requires a

quantification of dose and effect, the third step assesses the exposure pathways, and the final step

integrates the information from the first three steps to “generate an estimate of the overall risk to

human or environmental health, and integrates uncertainty findings from the first three steps.”76

               As discussed below, determining whether a chemical presents latent risks to human and

environmental health by engaging in a full risk assessment is highly distinguishable from

identifying an apparent mechanical defect (like a broken helicopter rotor, missing rearview

mirrors, or frayed parachute cables) by visual inspection. This concept further distinguishes this

litigation from previous cases where governmental immunity has been successfully invoked.77


73
     See Pl. Ex. 5, Decl. of Janet K. Anderson, Ph.D., at 11 of Ex. A (citing DODM 4715.20 4.b(5)(b) P35 & 47.18).
74
  See Pl. Ex. 97 at PENNA-NAVY-017115 (stating that the Department of the Navy “intends to remove, dispose and
replace legacy AFFF that contains PFOS and/or PFOA…); see also Pl. Ex. 96 (Dept. of Air Force Memo directing
replacement of C8 legacy AFFF and replacement with C6 AFFF, Aug. 22, 2016).
75
 See American Chemical Society Public Policy Statement 2019-2022: Chemical Risk Assessment and Regulatory
Decision Making, attached to London Decl. as Ex. 156, at 1.
76
     See id.
77
  Even in Agent Orange, which involved a chemical, it was undisputed that the government had known since the
1950’s that even trace amounts of dioxin found in the product were toxic. Thus, there was no disparity in knowledge
between government and government contractor at the time of the events. “During the 1950s and 1960s the PHS (the
United States public health service) developed considerable expertise on dioxin’s toxicity; and dioxin’s potential
presence as an unintended by product in the production of 2,4,5-T. Agent Orange, 304 F. Supp. 2d 404, 426-27
(E.D.N.Y. 2004). At the time it developed specifications for agent orange the United States knew that 2,3,7,8-


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Here, in a case dealing with toxic exposures, it takes years before actual knowledge of an alleged

defect can be known by the government. In sum, chemicals pose inherently hidden dangers, the

hazards of which sometimes remain unknown for decades, at least for those outside of the

manufacturers.

               The evidence herein is replete with documents and testimony supporting this fundamental

premise – that the DoD is required to rely on the EPA – and for good reason. For example, an Air

Force Public Statement makes clear, “(t)he Air Force depends on the EPA and the Department of

Health and Human Services Agency for toxic substances and disease registry to determine

potential danger to human health and the environment.”78 That Statement also notes that, “(t)he

EPA issued its lifetime health advisory in 2016 at the current level and the Air Force has adjusted

its response to meet that new level,” and explains that “(t)he Air Force relies on the EPA to address

and set environmental regulatory limits for human health…” precisely because “(t)he EPA

conducts rigorous peer-reviewed processes to establish risk levels for chemicals and used several

hundred studies that resulted in the drinking water advisory we had today.”79

               Mark Correll, the assistant secretary for the Air Force overseeing environmental concerns,

put it this way in reference to EPA: “We rely on agencies that do this for a living to give us

answers.”80 Accordingly, in 2016 following the issuance of the Lifetime Health Advisory




tetrachlorodibenzo-p-dioxin (dioxin) was at the time formed as a byproduct during the manufacturer of TCP the
intermediate used to produce 2,4,5-T (Agent Orange) and that dioxin was also present in 2,4,5,-T. Id. at 427. “It also
knew that dioxin was believed to be toxic.” Agent Orange, Id.
78
  See Bowling Dep. Ex. DCC676, attached to London Decl. as Ex. 157, at AF09-00019463 (US Air Force Public
Affairs statement dated Nov. 20, 2017).
79
     See id.
80
 See Walker Dep. Ex. DL1380, attached to London Decl. as Ex. 158, at Navy02-00009228; see also Pl. Ex. 70,
Walker Dep. Tr. Vol. I, at 255:2-256:3 (agreeing with the quoted statement from Walker Dep. Ex. DL1380).

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(“LHA”,) the DoD immediately took action to discontinue using AFFF products associated with

PFOS and PFOA, stating as follows:

           On May 19, 2016 the US Environmental Protection Agency (EPA) issued reference (c) to
           provide a lifetime drinking water health advisory for PFOS and PFOA which are contained
           in older formulations of AFFF. The newest formulations of MILSPEC-compliant AFFF
           (i.e., products qualified since November 2015) may still contain trace quantities of PFOA.
           DON (Department of the Navy) intends to remove, dispose and replace legacy AFFF that
           contains PFOS and or PFOA….”81 (emphasis added)

           In a 2018 report to Senator John McCain, Chairman of the Committee on Armed Services

forces, the Undersecretary of Defense, Ellen Lord reported “(a)n update on DoD’s plans for

replacing AFFF containing PFOS or PFOA at military installations across the country and methods

of disposal for AFFF containing PFOS or PFOA.”82 The Undersecretary of Defense went on to

note that it was the May 19, 2016 EPA’s LHA of 70ppt which prompted this action, stating: “While

the LHA is only guidance under the SDWA and not a required or enforceable water standard DoD

began taking actions to address impact of drinking water.” She also reiterated that, “(a)s part of

DOD’s multifaceted approach to address PFOS and PFOA the department is also taking steps to

remove and replace AFFF containing PFOS from its inventory and supply system.” (Emphasis

added)

           In sum, “DoD reliance on EPA in matters of chemical regulation as it relates to human

health is a well-founded principle that provides for a deliberative and thoughtful process and

ensures that DoD’s decisions are guided by and based on the best available science, thus avoiding

reliance on potentially conflicting data.”83




81
     See Pl. Ex. 97 at PENNY-NAVY-017115.
82
     See Def. Ex. 131 at FF_DOD004_00002989-990.
83
     See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., ¶ 18.

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           E.      Defendants’ Conduct Resulted in a Decades-Long Delay in the Regulatory
                   Process Culminating in the EPA’s 2016 Health Advisory Level (“HAL”).

           As noted above, the federal regulatory process with respect to chemical evaluation and risk

assessment, the dangers of which are often latent and thus unknown for years, is a long and lengthy

one,84 even where no informational gaps exist. In the case of AFFF, Defendants’ conduct clearly

resulted in not only a decades long delay in the start of that lengthy process, but also impeded the

regulatory process even after the process began.

           Initially, it is clear that 3M’s 20-plus year failure to disclose to EPA the presence of PFOS

in the blood of general population delayed the regulatory process with respect to PFOS and PFOA.

In fact, the record establishes that it was, in fact, the reporting of PFOS in the blood of the general

population that prompted EPA to investigate PFOS in 2000. This is evidenced by, for example,

one correspondence from Charles Auer in the EPA’s Office of Pollution Prevention and Toxics

(“OPPT”) to Scott A. Masten, Ph.D., in the National Institute of Environmental Health Sciences,

dated August 7, 2003, where Mr. Auer stated that “OPPT has been assessing perfluorinated

compounds since 1999. This interest was prompted by reports submitted to the agency describing

the toxic properties and widespread presence in the environment, including human populations,

of… [PFOS].”85 Similarly, in 3M’s press release related to its settlement with EPA resulting from

reporting violations under TSCA, it is stated that “[d]ata submitted by 3M and others led EPA to

begin an investigation of [PFOA and PFOS] in 2000.”86

           However, this 20-plus year delay by 3M in the disclosure to EPA that PFOS had been

found in the blood of the general population was not the end of industry obstruction and delay.


84
   See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., at 7-8 (stating that hazard assessment practice
is a formal and deliberative process within the regulatory framework).
85
     See Pl. Ex. 51 at 3M_AFFF_MDL01669634 (emphasis added).
86
     See 060-0036-0000321, attached to London Decl. as Ex. 159, at 060-0036-0000324 (emphasis added).

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Rather, as noted above, even after the regulatory process for PFOA and PFOS began around the

year 2000, industry nonetheless continued to impede the progress of EPA’s information gathering

with respect to PFOA and PFOS both by withholding critical risk information well into the 2000s

as well as through its mantra of denials regarding hazards posed by PFOS and PFOA.

           For example, as discussed above, the telomer industry embarked on a 15-year campaign of

deception claiming that their AFFFs did not contain PFOA, PFOS or their precursors, a

representation that was reasonably relied upon by the government. Moreover, in 2005 and 2006,

Defendant E.I. DuPont de Nemours and Co. (“DuPont”) and 3M, respectively, were each fined

substantial penalties for failing to disclose “significant risk information” regarding both PFOA and

PFOS.87 In fact, as noted above, in 2006, the then EPA Administrator, Stephen Johnson, noted in

regard to PFOA that there are “many . . . critical information gaps that exist around our

understanding of potential exposures and risks.”88

           The repeated failures by Defendants to disclose significant risk information prevented EPA

from adequately assessing the risks associated with PFOS and PFOA utilizing the widely

recognized weight of the evidence approach.89 EPA defines weight of evidence as follows: “(1) A

process of making inferences from multiple pieces of evidence, adapted from the legal metaphor

of the scales of justice. (2) The relative degree of support for a conclusion provided by evidence.

The result of weighing the body of evidence.”90 Having been deprived of substantial risk


87
     See Apr. 25, 2006 EPA Press Release, Ex. 130; See Dec. 14, 2005 EPA Press Release, Ex. 131.
88
     See Def. Ex. 106 at FF_NAVY11_00432968.
89
   See EPA’s Procedures for Chemical Risk Evaluation Under the Amended Toxic Substances Control Act, available
at: https://www regulations.gov/document/EPA-HQ-OPPT-2016-0654-0108 (last visited June 17, 2022).
90
    See OECD (2019), Guiding Principles and Key Elements for Establishing a Weight of Evidence for Chemical
Assessment, Series on Testing and Assessment No. 311, Environment, Health and Safety Division, Environment
Directorate (citing EPA’s 2016 definition for “weight of the evidence”), attached to London Decl. as Ex. 160, available
at:    https://www.oecd.org/chemicalsafety/risk-assessment/guiding-principles-and-key-elements-for-establishing-a-
weight-of-evidence-for-chemical-assessment.pdf (last visited June 17, 2022).

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information for decades, even well into the 2000s, the EPA was not in a position to have fairly

weighed all of the evidence of harms associated with PFOS and PFOA. Simply, the EPA was

deprived of substantial risk information, which had it been provided, would have undoubtedly been

considered as part of its weight evidence analysis, or metaphorically speaking, placed on the scales

of justice. Resultantly, this substantial risk information would have been incorporated sooner into

a risk assessment for these chemicals had such information been provided. However, given the

EPA’s informational gaps relating to PFOA and PFOS, it is no wonder that in 2009, when the EPA

issued its provisional health advisory level for PFOA and PFOS, it noted that epidemiological

studies concerning PFOA and PFOS exposure and adverse health outcomes were still

“inconclusive.”91

               Since 2000, there has been a significant increase in the number of publications related to

PFOS and PFOA.92 In fact, from 2009 onwards, one can see an even more dramatic increase in

publications relating to PFOS and PFOS,93 including the publication of the C8 Science Panel

studies, the largest scale epidemiological study regarding exposure to PFOA and human health

effects.94 This is important because almost all of these publications were only published following

3M’s disclosure to EPA of PFOS being found in the blood of the general population, and only then

became part of the body of scientific literature available to EPA in performing its weight of the

evidence analysis in order to arrive at the 2016 HAL of 70 ppt. Again, this subsequently triggered


91
  See Pl. Ex. 120, Provisional Health Advisories for Perfluorooctanoic Acid (PFOA) and Perfluorooctane Sulfonate
(PFOS), at 1.
92
   See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., at 13 (identifying the number of Per- and
Polyfluoroalkyl Substances Publications in PubMed from 1980-2021).
93
     See id.
94
   See, e.g., C8 Science Panel’s Probable Link Evaluation of Cancer, dated Apr. 15, 2012 (concluding that “on the
basis of the epidemiologic and other data available to the C8 Science Panel, we conclude that there is a probable link
between exposure to C8 (also known as PFOA) and testicular cancer and kidney cancer….), attached to London Decl.
as Ex. 161, at 1.

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DoD’s immediate reaction and implementation of a program to remove and replace existing stocks

of legacy foams containing either PFOS or PFOA (except for those inconsequential trace levels). 95

           In sum, the evidence clearly demonstrates that at all times, over a span of 50 years, the

government has faced a torrid current of industry denials and concealment of key risk information.

           As discussed in greater length below, each of the Defendants, whether it be 3M or any of

the Telomer Defendants, possessed knowledge they failed to disclose to the government regarding

the toxicity and safety of PFOS, PFOA, and AFFF more generally, thereby delaying the regulatory

process by decades. 96 Thus, it cannot have been before 2016, when the EPA (upon whom by

regulation the DOD is required to rely for risk information to guide its management decisions

regarding potentially toxic chemicals 97) issued its 2016 LHA, that DoD had actual knowledge of

the dangers posed by PFOA and PFOS to humans, and thus AFFF more specifically.

           Finally, in their respective declarations, Drs. Linda S. Birnbaum and Janet K. Anderson,

with combined decades of service at EPA, explained and concluded that until the formal risk

assessment was completed by EPA in 2016, it cannot be said that the government had actual

knowledge of the potential risk of harms associated with PFOA and/or PFOS such that the DoD

could have made informed and well-found management decisions regarding the use of AFFFs. 98

These well- supported conclusions, at the very least, present triable issues of fact as to whether it


95
  See Pl. Ex. 97 at PENNA-NAVY-017115 (stating that the Department of the Navy “intends to remove, dispose and
replace legacy AFFF that contains PFOS and/or PFOA….”)
96
     See also Pls.’ Original Opp. § IV.B.5.
97
   See 42 U.S.C. §§ 9601(2), 9620 (a); Pl. Ex. 123, DoD Manual 4715.20, Enc. 2 (1)(a), Enc. 3 (1)(a), (b). DOD
Manual           §          4715.20            (March        9,          2012),           available           at
https://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodm/471520m.pdf (last visited June 17, 2022); Pl.
Ex. 5, Decl. of Janet K. Anderson, Ph.D., at 15 of Ex. A (DoD manual DODM 4715.20 and “DoD policy for
unregulated and emerging contaminants (DoDI 4715.18) provides rules and requirements that specifically prohibits
DoD from adopting protocols and procedures based on draft/proposed regulatory guidance that is undergoing peer
review and comment”).
98
   See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., ¶¶ 20-23; see also Pl. Ex. 5, Decl. of Janet K.
Anderson, Ph.D., at Opinion 2, at 2 of Ex. A.

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was, in fact, 2016, at earliest when DoD had knowledge about dangers posed by C8-containing

AFFFs, and their testimony, opinions and credibility in this regard are properly weighed by the

trier of fact.

           Importantly, these are not the opinions of just run-of-the mill toxicologists without

experience in the subject matter. Rather, as noted above, both Drs. Anderson and Birnbaum

worked at EPA. Dr. Anderson spent 15 years providing toxicology expertise and consulting to

federal agencies99 while Dr. Birnbaum served the EPA for 19 years from 1989 to 2009.100 After

her time as a post-doctoral fellow at EPA’s Office of Research and Development National Center

for Environmental Assessment, Dr. Anderson went on to lead the Emerging Contaminants

program at the United States Air Force, where she advised the DoD on matters related to regulatory

actions, toxicology, risk assessment and environmental restoration.101 Dr. Birnbaum, after 19 years

at EPA, went on to become Director of the National Institutes of Environmental, a position she

held through both Democratic and Republican administrations, testifying multiple times before the

United States Congress on issues germane to the protection of the public and the environment from

dangerous chemicals.102 These are the opinions, therefore, of experts who have served our country,

dedicated their careers to protecting the public health an particularly with professional experience

directly relevant to the issues in this case.

           As discussed, unlike a mechanical defect where the defect is open and obvious, chemicals

by their very nature present questions of fact that require expert opinion and interpretation to assist

the finder of fact in answering the ultimate question as to when it can be said that sufficient



99
     See Pl. Ex. 5, Decl. of Janet K. Anderson, Ph.D., at 1 of Ex. A.
100
      See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., at Attachment A.
101
      See Pl. Ex. 5, Decl. of Janet K. Anderson, Ph.D., at Appendix A, at 1.
102
      See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., ¶¶ 1-8.

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knowledge existed to conclude that a chemical used in a particular product, like AFFF, presented

an actual risk of harm of humans. According to both Drs. Birnbaum and Anderson, it was not until

at least 2016 when one can say the government, and specifically the DoD, had the requisite

knowledge of the potential harm to humans from their ordinary use of AFFFs. This conclusion

draws from their professional knowledge, experience and the underlying facts of the case, and is a

conclusion that at least creates a triable issue of fact as to when DoD had sufficient and actual

knowledge of these harms.

           F.        In the Absence of a Precise Specification, there is no Reason to Reach the
                     Second and Third Prongs of Boyle

            While all three Boyle prongs are intertwined, it is important to underscore why Defendants

have failed to even meet Boyle prong one prior to advancing to any analysis of prong two or three.

Only if prong one is met is an analysis of the remaining Boyle prongs necessary.

           MIL-F-24385 is a “performance” specification, which means it does not provide a specific

recipe for the constituents of AFFF.103 Notably, the government agrees. Mr. Darwin, the former

custodian of MIIL-F-24385, testified that it is a performance specification.104 There was simply

no requirement that any specific fluorosurfactant be incorporated into AFFF so long as the AFFF

passed the fire testing protocols. In fact, the government was unaware of which fluorosurfactant

was even used in any particular AFFF because such information was maintained as a trade



103
    See, e.g., Strickland v. Royal Lubricant Co., Inc., 911 F. Supp. 1460, 1468 (M.D. Ala. 1995) (court rejected claims
of immunity by the manufacturer of hydraulic fluid because the specification at issue was imprecise as being silent as
to toxicity which afforded the manufacturer “considerable discretion” to select its components: “The specifications
here, unlike those in Glassco, [ ] provide considerable discretion to the contractor in formulating the
components of the product. In Glassco, the contractor had little, if any, leeway in constructing the belt, which could
only be made of one material and with specificized measurements. Here, however, the confines were not restricted as
to the degree of toxicity, giving the defendant wider latitude. As already stated, one purpose of the government
contractor defense is to alleviate a manufacturer’s dilemma when it cannot alter a component of a product but must
produce it strictly in compliance with government specifications. This does not seem to be the case here.”) (emphasis
added)
104
      See Pl. Ex. 2, Darwin Dep. Tr. Vol. I, at 41:6-42:10.

                                                              26
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secret.105 Thus, the characterization of the AFFFs by Mr. Darwin as each company’s proprietary

“witches’ brew.”106

            This paradigm is in stark contrast to, for example, the military specification at issue in

Agent Orange, which does specify a precise chemical within a larger family of chemicals. For

illustrative purposes, a side-by-side comparison is included below.




           As is plain to see, when the government chooses to do so, the government knows exactly

how to specify and require a specific chemical. N-Butyl 2,4,5- Trichlorophenoxyacetate and N-

Butyl 2.4-Dichlorophenooxyacetate are specific chemicals within the larger class of thousands

known as herbicides or defoliants. In § 3.1.1 of the Agent Orange military specification, there are

even greater and more carefully defined specifications, including the precise weight and



105
      See Pls.’ Original Opp. at 31-33.
106
      See Pl. Ex. 2, Darwin Dep. Tr. Vol. I, at 46:23-47:2.

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percentage of purity for each chemical. There is very simply no such equivalent to this precision

of detail in MIL-F-24385. The AFFF MilSpec merely identifies a large class of compounds (i.e.,

fluorosurfactants) for the contractor to choose from without regard to any particular

fluorosurfactant of the many thousands that exist, thus permitting the contractor to use its

discretion in selecting fluorosurfactant(s) and keep the identity of its fluorosurfactant(s) unknown

as a propriety trade secret.107 Because it is the contractor that is exercising discretion in selecting

the design of the product, not the government, immunity does not follow.

           G.      Defendants’ Knowledge Exceeded that of the Government

           Defendants, in particular the Telomer Defendants,108 also make the specious argument that

the government’s knowledge always exceeded their own. As an initial matter, “[o]ne of the most

fundamental propositions of negligence law in the products liability context is that a manufacturer

is held to the level of an expert in its field.”109

           Given their expertise over their products, it is generally understood that industry is always

presumed to be in a superior position of knowledge of its own products, which is demonstrably

the case here.110 Defendants’ attempts to avoid their actual knowledge of AFFF’s propensities

rings hollow.



107
    See Pl. Ex. 1, Decl. of Patrick D. Lowder, at 3-4 (stating that the term fluorocarbon refers to a family of chemicals
that encompasses trillions of potential compounds and NRL did not select or develop the fluorosurfactant compounds
utilized in AFFF formulations). It is also worth noting that MIL-F-24385 does require specific chemicals by name in
and weight.
108
      Telomer Defs.’ Mem. at 8.
109
    See 1 Owen & Davis on Prod. Liab. § 2:8, The standard of care—Manufacturers held to standard of “expert in the
field” (4th ed. 2022) (citing Chretien By & Through Chretien v. Gen. Motors Corp., 959 F.2d 231, *10-11 (4th Cir.
1992.))
110
   See, e.g., Huggins v. Stryker Corp., 932 F. Supp. 2d 972, 987 (D. Minn. 2013) (a manufacturer is “obligated to
keep informed of scientific knowledge and discoveries concerning that field.”); Hollman v. Taser Intern. Inc., 928 F.
Supp. 2d 657, 678 (E.D.N.Y. 2013) (manufacturer “must keep abreast of knowledge of its products as gained through
research, adverse reaction reports, scientific literature and other available methods.”); Erickson v. Baxter Healthcare,
Inc., 151 F. Supp. 2d 952, 962 (N.D. Ill. 2001) (manufacturers are held to standard of experts in the field).

                                                          28
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           For example, beginning in 1998, 3M and DuPont submitted millions of pages of studies on

PFOS and PFOA to the EPA’s administrative docket, titled AR-226, which had accumulated for

decades. The number of studies they submitted in 1998 alone were in the thousands as compared

to the handful of DoD studies the DCC cited in its original brief (the interpretation of which was

supported by mere self-serving attorney statements and not a single expert affidavit), which in any

event were not of the type, quality, quantity, or character to permit a risk assessment, and the

majority of which did not even apply to PFOA or PFOS.111 This evidence alone demonstrates that

the level of knowledge overwhelmingly favors industry.

           Moreover, the government’s knowledge could not have exceeded that of industry since in

2005 and 2006 both DuPont and 3M respectively each agreed to pay EPA significant fines for

violations of the Toxic Substances Control Act (“TSCA”) in failing to disclose “substantial risk

information” with respect to both PFOA in the case of DuPont and both PFOA and PFOS in the

case of 3M. This evidence proves that Defendants withheld information from the government and

establishes unequivocally that the government’s level of knowledge of potential risks of PFOA

and/or PFOS was, in fact, substantially less than that of the industry.

           In 2005, Defendant DuPont was fined the largest penalty “by far” ever levied by the EPA

specifically for failing to disclose “substantial risk information” regarding PFOA.112 While DuPont

is not a moving Defendant, that is of no moment, as this fine is direct evidence that the government

was not informed of, and was not privy to, “substantial risk information” about PFOA, which




111
      See Pl. Ex. 6, Decl. of Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S., at 6.
112
   See Dec. 14, 2005 EPA Press Release, Ex. 131, at 2 (“This is the largest civil administrative penalty EPA has ever
obtained under any environmental statute. Not by a little, by a lot.”).

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speaks directly to the issue of government knowledge.113 In short, it is proof that the government

lacked not just some knowledge but substantial risk information regarding PFOA, which was, in

fact, known to industry.114

           A year later, in 2006, 3M similarly agreed to pay substantial penalties for alleged violations

of the TSCA for failing to disclose “substantial risk information” for both PFOS and PFOA.115 In

their press release of April 25, 2006, EPA noted that as a result of EPA’s action “… 3M produced

valuable previously unreported information that will help the scientific community to better

understand the presence of toxic substances in the environment.”116

           These EPA actions, resulting in substantial fines paid by both DuPont and 3M, make it

abundantly clear that not only was EPA deprived of substantial risk information regarding PFOS

and PFOA but so too was the scientific community at large. Accordingly, Defendants’ factual

contentions that the government was in a position of superior knowledge to industry have been

controverted. Consequently, questions of fact remain that must be determined by a jury.

           Finally, the Telomer Defendants also claim that the government consistently had superior

knowledge than them with respect to the potential for their C8-containing AFFFs to degrade to

PFOA.117. However, as discussed, in § V.B, infra, the record reflects that it as of 2001, it was




113
   As the Court recalls, during the telephonic conference of April 6, 2022, the Court noted in response to Plaintiffs’
concern that Dupont and Dynax would not be parties to this motion: “I know you want to get in information that you
believe is misinformation provided by these two defendants. To the extent that it in combination of other information
was misleading the Government, I think you can mention that without having me address the issue of their availability
for government contractor immunity.” See Apr. 6, 2022, Hr’g Tr. at 26: 2-8.
114
   Moreover, even if one were to argue that DuPont’s knowledge, as a member of the FFFC, cannot be imputed to the
other members, this is still direct evidence that the government lacked “substantial risk information” regarding PFOA,
evidence relevant to the question of what the government knew and when they knew it, especially as compared to
industry
115
      See Apr. 25, 2006 EPA Press Release, Ex. 130, at 2.
116
      See id. (emphasis added).
117
      See Telomer Defendants’ Mem. at 15-23.

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common industry knowledge that C8-containing AFFFs degrade to PFOA, and, moreover, both

individually and through the FFFC, the Telomer Defendants consistently clouded the

government’s knowledge on this point through misrepresentations that their AFFFs neither

contained nor degraded to PFOA. As such, this likewise creates a triable issue of act regarding the

timing of government knowledge vis-à-vis the Telomer Defendants insofar as AFFF degradation

pathways are concerned, and whether, in fact, government was even aware that use of telomer-

based AFFFs could result in PFOA contamination given that they were being told the opposite.

        H.       The Defendants Bear the Burden to Establish Actual Knowledge on the Part
                 of the Government and Have Failed to Satisfy this Burden

        As set forth more fully in section III.B, infra, under Intel Corp. Invest. Policy Comm.,

Defendants have the burden to establish actual knowledge on the part of the government of the

dangers posed by AFFF.118 The Defendants have not satisfied their burden in this regard.

        Even to this day, the EPA is busy establishing a final MCL which will carry even greater

weight than the health advisory issued in 2016. One could argue, therefore, that even in 2016 the

government, or the DoD more specifically, had insufficient knowledge that would have led it to

discontinue legacy AFFF use. Nonetheless, in conformance with the precautionary nature of the

HAL, DoD began its program to remove and replace legacy AFFFs.

III.    LEGAL STANDARDS

        The Court should deny Defendants’ motion for partial summary judgment regarding its

affirmative defense with respect to the second and third prongs of the Boyle government contractor

defense because they have failed to demonstrate that no genuine issues of material fact exist with



118
   See also Trevino v. Gen. Dynamics Corp., 865 F.2d 1474, 1481-82 (5th Cir. 1989) (noting it “would be a farce if
the government could approve specifications without evaluating them.”); Ramey v. Martin-Baker Aircraft Co., 875
F.2d 946, 951 & n.10 (4th Cir. 1989) (Navy had “full knowledge of the danger implicit in prevailing maintenance
protocols.”).

                                                       31
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respect to their arguments that: (a) their AFFF products conformed to the MilSpec; and (b) that

they warned the government of dangers associated with AFFF use known to them but not the

government.

           Summary judgment is only appropriate if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law as to matters upon

which it has the burden of proof at trial.119 “Ordinarily, because of the standard applied at the

summary judgment stage, defendants are not entitled to summary judgment pursuant to the

government contractor defense.”120

           A.       Second Prong: Equipment Conformed to Government Specifications

           The second prong of the Boyle test requires that the product conform to the government’s

specifications.121 This prong serves to locate the exercise of discretion in the government; if the

contractor were free to deviate from the government's specifications, then discretion over design

choices would be exercised by the contractor, not by the government.122 In such cases where the

contractor is the one exercising discretion, immunity is not available. Thus, the contractor must

prove that its product met the government specifications in all material respects.123

           To suggest their products conformed with MIL-F-24385, the Defendants argue that this

Court may not second-guess the government’s finding their products conformed to the MilSpec

based on Kleeman. In Kleeman, as in Boyle, Dowd, Tozer and Ramey, all of the products at issue




119
      See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986); FED. R. CIV. P. 56(a).
120
   Coach v. Armstrong Int’l Inc., No. CIV.A. 2:12-60180-ER, 2014 WL 7404841, at *1 n.1 (E.D. Pa. Sept. 25, 2014)
(denying summary judgment as to Boyle prong one because plaintiff had submitted affidavits controverting
defendants’ evidence as to whether the Navy issued reasonably precise specifications).
121
      Boyle, 487 U.S. 500, 512 (U.S. 1988).
122
      Trevino, 865 F.2d at 1481.
123
      Kleeman v. McDonnell Douglas Corp., 890 F.2d 698, 702-03 (4th Cir. 1989).

                                                           32
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were mechanical in nature. Such products “are precisely the sort for which the defense was

intended.”124 And for each product, the “government was a substantial participant.”125 Where those

two facts align the Fourth Circuit has no qualms granting immunity due to the “active government

oversight” of the development of the product.126 As the court noted, “[h]ere the government

maintained discretion over the design of the product throughout; it did not simply turn over such

discretion, and the military decisions inherent therein, to the private contractor.”127 The court also

noted the necessity for "detailed, quantitative specifications,” which are the only specifications

“relevant to the government contractor defense.”128 Any specification with “vagaries” do not fit

the Fourth Circuit’s relevancy standard applicable to the defense.

            Contrasting the facts in Kleeman to those here reveals a chasm of uncertainty exists

between what is demanded by the Fourth Circuit for a supplier to meet the defense and the situation

at hand. The absence of active government participation in the development of 3M’s or any of the

Telomer Defendants’ products, coupled with the lack of any quantitative specification in the AFFF

MilSpec, which only contained the simple vagary calling for a “fluorocarbon surfactant,” does not

meet the demanding standard of the GCD required by Kleeman. Instead, the record demonstrates

that the government ceded its discretionary authority to the Defendants about which

flourosurfactants to use in AFFF, which refutes any possibility that the government found

Defendants’ AFFF conformed with MilSpec.


124
   Id. at 700; see also Tozer v. LTV Corp., 792 F.2d 403, 407 (4th Cir. 1986) (recognizing a back-and-forth between
contractor and military as “essential” and “a reality of the procurement process.”).
125
      Id. at 701.
126
   Id. (noting that in the development of the aircraft at issue there were extensive “exchange of views in the
procurement process”, the contractor “was required to submit detailed engineering drawings,” “all changes to the
design . . . required Navy approval”, and the Navy “maintained an extensive staff of aircraft engineers on site” of the
defendant).
127
      Id. at 702.
128
      Id. at 703.

                                                         33
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            Defendants’ secondary argument that prong two’s conformance with the Milspec can be

proven by the government’s testing and qualification of their products misapplies their authority.

The cases relied upon by Defendants, Miller, 275 F.3d at 420; Szigedi v. Ensign-Bickford Co., No

1:00-CV-00836, 2002 WL 32086774, at * 8 (M.D.N.C. July 15, 2002); see also Lewis v. Babcock

Indus., Inc., No. 88-CV-1120, 1992 WL 142751, at * 7 (S.D.N.Y. June 8, 1992), address different

procurement processes. In contrast, here, the government’s lack of actual knowledge of the

contents of the products or the ability to fully appreciate the dangers presented by long-chain AFFF

negates any argument that the acceptance of the product after testing to meet the QPL was in any

way proof of its conformance with the MilSpec.

            B.      Third Prong: Contractor must warn government of any dangers in the use of
                    the product that are known to the contractor but not to the government

            The first two prongs of the Boyle test assure that the suit falls “within the area where the

policy of the ‘discretionary function’ would be frustrated.”129 The third prong requires that the

contractor warn the government of any dangers in the use of the product that are known to the

contractor but not to the government.130 The third prong is necessary “because, in its absence, the

displacement of state tort law would create some incentive for the manufacturer to withhold

knowledge of risks, since conveying the knowledge might disrupt the contract but withholding it

would produce no liability.”131 The primary purpose of this prong is to enable the government to

make determinations as to the design and use of the contracted-for product “based on all readily

available information.”132 “[I]f a defendant was aware of hazards that might reasonably have




129
      Boyle, 487 U.S. at 512.
130
      Id.
131
      Id.
132
      Trevino, 865 F.2d at 1481 (citation omitted).

                                                      34
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affected the government's decision about the use of [its product], and if that defendant failed to

disclose those hazards to the government, then the defense fails . . . .”133 Here, ample evidence

suggests that had the government known of the dangers posed by long-chain AFFF earlier, it would

have discontinued using it sooner.134

           “[T]he government contractor defense is [only] established as a matter of law absent a

substantial showing that the manufacturer informed the government of known risks in the use of

its product.”135 Boyle's third prong is “geared to ensure that the Government makes its decision

to contract for that particular equipment with benefit of full knowledge of all hazards.”136

           An analysis of Boyle’s third prong is an inherently fact intensive analysis. As one court

recently observed, “[a]n even deeper dive into even murkier factual waters would be required to

resolve Boyle's second and third prongs in the context of this litigation.”137 In cases where

summary judgment was granted on Boyle’s third prong, typically the facts were not in dispute, no




133
      Agent Orange, 534 F.Supp. at 1057-58.
134
    To the extent that Defendants rely on Glassco v. Miller Equip. Co., 966 F.3d 641, 643 (11th Cir. 1992) to argue
that the information they withheld from the government would not have impacted its knowledge or decision to
discontinue use of their defective AFFF, the record disproves their contentions.
135
      Carley v. Wheeled Coach, 991 F.2d 1117, 1127 (3d Cir. 1993) (citing cases) (emphasis added).
136
   In re Joint E. & S. Dist. N.Y. Asbestos Litig., 897 F.2d 626, 632 (2d Cir. 1990) (emphasis added); see also Tate v.
Boeing Helicopters, 55 F.3d 1150, 1156 (6th Cir. 1995) (contractors are required “to provide the government with all
the information required to soundly exercise its discretion.”).
137
   In re 3M Combat Arms Earplug Prods. Liab. Litig., 2020 U.S. Dist. LEXIS 148321, at *14 n.5 (N.D. Fla. 2020);
see also Hays v. A.W. Chesterton, Inc., 2011 U.S. Dist. LEXIS 143493, at *10-11 (E.D. Pa. 2011) (denying summary
judgment because plaintiff submitted “evidence that contradicts (or at least appears to be inconsistent with)
[defendant’s] evidence in support of its motion”).

                                                          35
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evidence was introduced to refute the defendants’ arguments, or the government had greater

knowledge of the problem than the defendant had or had issued its own warning.138,139

           Regarding a government contractor’s level of knowledge under Boyle’s third prong, Boyle

requires an understanding of the Court’s rationale for granting immunity. In particular, the Court

wanted to encourage candid discussions between the supplier and the military. To promote such

candor, the third prong provides that a supplier must warn the government of dangers “known to

the supplier” but not within the government’s knowledge.140 Since Boyle, courts have almost

uniformly required that there must exist “actual knowledge on the part of the manufacturer”141 of

the dangers presented by their products. This has been demonstrated time and again in ordinary

government contractor defense cases, where the dangers presented by the products which are




138
   See, e.g., Ramey, 875 F.2d at 951 & n.10 (Navy was “well aware of the [product’s] harmful propensities,” had “full
knowledge of the danger” and there was “no dispute” over critical facts); Haltiwanger v. Unisys Corp., 949 F. Supp.
898, 904 (D.C. Cir. 1996) (evidence showed that government was as well informed, if not more so, than defendant of
product’s dangers); Lewis v. Babcock Indus., Inc., 985 F.2d 83, 89-90 (2d. Cir. 1993) (same); Harris v. Rapid Am.
Corp., 532 F. Supp. 2d 1001, 1006 (N.D. Ill. 2007) (same); Yeroshefsky, 962 F. Supp. at 721 (“government’s
knowledge was both wide and deep”); Stout v. Borg-Warner Corp., 933 F.2d 331, 336-37 (5th Cir. 1991) (the record
“demonstrate[d] undisputed knowledge of the [product’s] risk” and the danger was “obvious to anyone”) (emphasis
added); Siegman v. Schneider Elec. U.S., 2017 U.S. Dist. LEXIS 190485, at *13-15 (D.N.J. 2017) (same); Kleeman,
890 F.2d at 702 n.2 (finding no evidence that defendant failed to warn government of products dangers that were not
known to the government); Maguire v. Hughes Aircraft Corp., 912 F.2d 67, 72 (3d Cir. 1990) (record contained
unrebutted testimony that product’s risks were disclosed to government); Niemann v. McDonnell Douglas Corp., 721
F. Supp. 1019, 1028 (S.D. Ill. 1989) (plaintiff “presented no evidence which controverts the undisputed fact that the
government had knowledge of the dangers of asbestos and that the defendant had no such knowledge.”) (emphasis
added); Glassco, 966 F.2d at 643 (summary judgment granted because there was “no evidence” in the record showing
that the defendant knew of dangers which were not known by the government) (emphasis added); Carley v. Wheeled
Coach, 991 F.2d 1117, 1127 (3d Cir. 1993) (summary judgment reversed where defendant “offered no proof to satisfy
the third prong”) (emphasis added); In re Air Crash Disaster at Mannheim Germany, 769 F.2d 115, 124-25 (3d Cir.
1985) (uncontradicted testimony establishes Army’s knowledge of safety risks and entitled manufacturer to judgment
n.o.v.).
139
   The “troublesome issue” that Defendants ascribe to Ramey was the duty to disclose information known by a sub-
contractor, not the contractor itself, to the United States and whether that failure to warn defeated the affirmative
defense. Ramey, 875 F.2d at 951. Because the government was already “well aware” of the defect, the issue –
troublesome as it may have been – was avoided.
140
      Boyle, 487 U.S. at 512.
141
      Stone v. FWD Corp., 822 F. Supp. 1211, 1212 (D. Md. 1993).

                                                        36
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typically mechanical defects are obvious (e.g, helicopter falling out of the sky) and the contractors

have proposed alternative “fixes” to address the problem.142

           But just as prong three of Boyle requires actual knowledge of the dangers posed by the

product on the part of the supplier, the same knowledge component also applies to the government,

e.g., “known to the supplier but not to the United States.”143 Of course, this makes sense since

courts do not grant immunity from liability for defects that the government has not actually

considered or fully evaluated.144 Consequently, the government must have actual knowledge of

the defect for the immunity defense to be effective. 145 This is where the AFFF case proves itself

unlike the typical mechanical defect GCD cases cited by the Defendants, or even Agent Orange,

where the defect is obvious or the toxicity of Dioxin was already known to the government. The

departure here is the nature of the latent dangers posed by PFOA and PFOS, fluorocarbon

surfactants of which the government was not even aware were present in the products (trade

secrets), and where the dangers to human health causally associated with PFOA and PFOS were

not actually known to the government.

           Because the government’s actual knowledge compared to the Defendants’ is so critical to

the immunity defense, understanding what is meant by actual knowledge is critical. In Intel Corp.,

the Supreme Court defined the term “actual knowledge.” Although the term was discussed in the

context of ERISA’s statutory limitations provision, the Supreme Court’s ‘plain language’

reasoning would apply to any construction of actual knowledge because it was undefined in the


142
      See, e.g., Dowd, 792 F.2d at 411-12.
143
      Boyle, 487 U.S. at 512.
144
   See Trevino, 865 F.2d at 1481-82 (noting it “would be a farce if the government could approve specifications
without evaluating them.”); Ramey, 875 F.2d at 951 (Navy had “full knowledge of the danger implicit in prevailing
maintenance protocols.”) .
145
   See also Pls.’ Original Opp. at 23 n.88 (citing 4th Circuit cases requiring actual knowledge on the part of the
government).

                                                       37
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statute. The Supreme Court turned to the plain reading of the actual knowledge requirement,

concluding that dictionary definitions of “actual” and “knowledge” confirm that to have “actual

knowledge” of some information, one must “in fact be aware of it,”146 and that actual knowledge

“begins only when a [party] actually is aware of the relevant facts, not when he should be.”147 The

Fourth Circuit applies the same definition of actual knowledge as Intel and recognizes that the

“appropriate inquiry is fact-intensive.”148 As evidenced by Defendants’ motion they place great

emphasis on the government's knowledge. But as their evidence is controverted by Plaintiffs’

counter-statement of facts laid out below, what remains is a fact-intensive inquiry for a jury to

decide.

            In this regard, the Intel Court also noted two important evidentiary aspects towards proving

actual knowledge. The first is that actual knowledge will always be subject to the “usual ways” of

proving it, meaning that “[i]nference from circumstantial evidence” will suffice as a proof of

fact.149 Second, the Court noted that actual knowledge can also be proven through a finding of

“willful blindness.”150 The High Court recognized that willful blindness occurs when a party

“take[s] deliberate actions to avoid learning of that fact.”).




146
      Intel Corp., 140 S. Ct. at 776.
147
      Id. at 778.
148
   Browning v. Tiger’s Eye Benefits Consulting, 313 F. App’x 656, 661 (4th Cir. 2009) (“knowledge of facts cannot
be attributed to plaintiffs who have no actual knowledge of them,” and that “there cannot be actual knowledge of a
violation for purposes of the limitation period unless a plaintiff knows ‘the essential facts of the transaction or conduct
constituting the violation.’”) (citing Edes v. Verizon Commc’ns, Inc., 417 F.3d 133, 142 (1st Cir. 2005)); see also
Winburn v. Progress Energy Carolinas, Inc., No. 4:11-CV-03527-RBH, 2015 WL 505551, at *7 (D.S.C. Feb. 6, 2015)
(recognizing that Browning requires that plaintiff had to actually know the facts constituting a violation of the law).
149
    Intel, 140 S. Ct. at 779 (citing Staples v. United States, 511 U.S. 600, 616 n.11 (1994)) (“[K]nowledge can be
inferred from circumstantial evidence”).
150
   Intel, 140 S. Ct. at 779 (citing Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011)) (recognizing
that willful blindness occurs when a party “take[s] deliberate actions to avoid learning of that fact.”)).

                                                           38
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            In the Fourth Circuit, willful blindness amounts to “purposefully avoid[ing] learning the

facts pointing to such liability.”151 Any deliberate action taken to avoid learning facts is willful

blindness.152 Accordingly, the actual knowledge of the Defendants and the United States of the

dangers posed by the Defendants’ fluorosurfactants to humans can be tested not only through the

direct testimony of witnesses, but circumstantial evidence as well. And the credibility of all the

witnesses (a jury function) may be examined through the prism of willful blindness. All of this is

to say that such factual matters are typically incapable of determination on a motion for summary

judgment, which is why the Defendants are unable to meet their burden of proof here and the

motion should be denied.

            As Defendants suggest, continued use of a product suggests knowledge of that product’s

dangers. That is true only where that “real world use” reveals its defects, so that the government

gains “awareness of all the implications of its operation” including its “shortcomings.”153 Such

may be the case with a letter sorter that the Postal Service uses every day,154 night-vision goggles

deployed in flights for years, 155 or a helicopter rotor known to fail.156 But use of AFFF provides

no such information to the military regarding its risks to human health or the environment. By

using AFFF, servicemembers learn about its performance characteristics in varied circumstances




151
   United States v. Jinwright, 683 F.3d 471, 479 (4th Cir. 2012) (quoting United States v. Poole, 640 F.3d 114, 122
(4th Cir. 2011)).
152
      See United States v. Hale, 857 F.3d 158, 168 (4th Cir. 2017).
153
      Haltiwanger, 949 F.Supp. at 905.
154
      Id.
155
   Zinck v. ITT Corp., 690 F.Supp. 1331, 1337 (S.D.N.Y,1988) (“Government was using this equipment in flight
missions for four years prior to the crash and would have become aware of any limitations or dangers associated with
aviation-related use of the goggles.”)
156
      Dowd, 792 F.2d at 412.

                                                           39
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        B.       Issues of Fact Exist as to Whether 3M Warned the Government of Dangers in
                 the Use of C8-Containing AFFF that were Known to 3M but Not to the
                 Government, Precluding Summary Judgment as to Boyle Prong Three.

        Outside of this courtroom, 3M claims that its C8-containing AFFF products present no risk

to human health.163 But here, within the confines of litigation, 3M says something very different,

arguing that the government elected to continue using C8-containing AFFF products with full

knowledge of its life-altering health risks, including increased risks of cancer and birth defects,

among other things. 3M’s briefing ignores this obvious conflict as well as testimony and other

evidence from DoD and EPA, which, as explained below, makes clear the government did not

sanction the widespread use of 3M’s C8-containing AFFF products with actual knowledge of these

possible harms. Because it cannot refute this evidence, 3M points to a handful of small studies in

the scientific literature and disclosures 3M made to governmental agencies in the 1980s. But this

ignores that 3M manufactured and sold PFAS-containing products, including AFFF, and

investigated them extensively, generating hundreds of studies and reports relating to their

toxicology, pharmacology, epidemiology, teratology, carcinogenicity, fate, transport and human

exposure.164 These studies repeatedly identified and confirmed the human and environmental risks

associated with its PFAS containing products – information that 3M initially chose not to timely

disclose to EPA despite having a regulatory obligation to do so under TSCA.

        The evidence cited by 3M as “proof” of the government’s “actual knowledge” reveals that

3M actively chose not to disclose complete and accurate information to the government, and

engaged in a campaign to stymie independent research into C8 and prevent public dissemination



163
   See 3M Website, https://www.3m.com/3M/en US/pfas-stewardship-us/health-science/ (“The weight of scientific
evidence from decades of research does not show that PFOS and PFOA causes harm in people at current or past
levels.”) (last visited June 17, 2022).
164
   See, e.g., Pl. Ex. 49, Zobel Dep. Ex. BB226 (A 90-page index of studies performed by 3M during the 1970s, 80s
and 90s, including pages of studies on PFOS and PFOA.)

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of the risks associated with its products for as long as possible. This undeniably delayed the

regulatory assessment and response to the threat posed by PFOS and PFOA. By the EPA’s own

admission, it did not even “begin an investigation of [PFOS and PFOA until] 2000”165 after it “was

prompted by reports submitted to the agency describing the toxic properties and widespread

presence in the environment, including in human populations…”166 Indeed, it was 3M who

refrained from notifying the EPA until 1998 that its proprietary chemical, PFOS was widespread

in the environment and present in the blood of virtually every man, woman and child.167 In

statements to the press and EPA, 3M claimed they were only able to make this discovery due to

recent advancements in analytical techniques, and further claimed that the discovery of PFOS in

the blood of the general population was “a complete surprise.”168 Contrary to this carefully crafted

narrative, the truth was that 3M possessed this knowledge for more than 20 years, 169 and had spent

two decades actively hiding, distracting, or misleading those outside of 3M about this important

public health matter.

                    1.       After Learning from Guy and Taves that PFAS Had Been Found in
                             Human Blood, 3M Hampered Their Research Efforts in Order to
                             Minimize Any Connection to 3M

           In the summer of 1975, 3M learned from two independent scientists that chemicals from

3M’s C8-containing AFFF products had been found in human blood in five different U.S. cities.

Specifically, Dr. Warren Guy, a toxicologist and professor at the University of Florida, called 3M’s




165
      See 066-0133-0102913, attached to London Decl. as Ex. 167, at 066-0133-0102914.
166
      See Pl. Ex. 51 at 3M_AFFF_MDL01669634.
167
      See Pl. Ex. 50, Gerber Dep. Ex. DL353.
168
      See Pl. Ex. 52, Olsen Dep. Ex. LP193, at 3.
169
   A draft manuscript detailing the alleged “recent analytical technique” was produced by 3M with a hand-written
post-it-note attached that read “now that the ‘lid is off’ [the paper’s author] would like to get this paper out. Any
problems?” See Kiester Dep. Ex. DL354, attached to London Decl. as Ex. 168, at 3M_BELL01945370.

                                                        43
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corporate headquarters that summer concerning research he and Dr. Donald Taves, a toxicologist

and professor at the University of Rochester, were going to present at a symposium organized by

the American Chemical Society (“ACS”). Drs. Guy and Taves had discovered the presence of an

unidentified organic fluorine chemical compound in human blood obtained from blood banks in

those five cities. According to an internal 3M memorandum documenting these phone calls, Dr.

Guy called 3M to see if it knew of the “possible sources” as Dr. Guy correctly “got the information

that 3M’s fluorocarbon carboxylic acids are used as surfactants and wanted to know if they were

present in ‘Scotchgard’ or other items in general use by the public.”170 In another phone call, Dr.

Taves specifically asked 3M if the “fluorochemical they have found in human blood is either a

derivative of a perfluorocarboxylic acid or a perfluorosulphonic acid,” and whether “the

fluorochemical found in the blood might be coming from [3M’s] paper or paperboard” products.171

Rather than inform these scientists that 3M did manufacturer such products, including 3M’s AFFF

LightWater, 3M incredulously chose to “plead ignorance” and instead “adopted a position of

scientific curiosity and desire to assist in any way possible...” when, in reality, 3M knew its AFFF

product could be the source.172

           Ultimately, Drs. Guy and Taves presented their research at an ACS symposium in Chicago

on August 26, 1975, and documented their findings in a manuscript that concluded “the fluorine

containing part of the compounds in the isolate (from human plasma) resemble perfluorooctanoic

acid (“PFOA”).”173 The manuscript further posited: “These findings suggest that there is

widespread contamination of human tissues with trace amounts of organic fluorocompounds



170
      See Pl. Ex. 53, Gerber Dep. Ex. DL11, at 3M_AFFF_MDL00419718-719.
171
      See Pl. Ex. 55, Gerber Dep. Ex. BB424, at 3M_BELL00054741.
172
      See Pl. Ex. 53, Gerber Dep. Ex. DL11, at 3M_AFFF_MDL00419719.
173
      See Olsen Dep. Ex. LP233, attached to London Decl. as Ex. 169, at 3MA00257430.

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                   2.      3M Gained Additional Knowledge Regarding the Dangers Associated
                           with C8-Containing AFFF in the 1970s, Which 3M Failed to Disclose
                           to the Government

           Following Drs. Guy and Taves’ finding of PFOS in the blood of the general population,

3M began a slew of toxicology studies conducted on rats, mice and monkeys.184 These studies,

which began in the mid 1970’s, confirmed that 3M’s products could metabolize PFOS in the

blood185 and reported that “[PFOS] was the most toxic of the three compounds studied and

certainly more toxic than anticipated.”186 The 90-day monkey study, for example, reported “GI

tract toxicity, lipid depletion of adrenals, atrophy of pancreatic exocrine cells and serous alveolar

cells of the salivary glands.”187 In total, 20 of the 28 rhesus monkeys in the study died as a result

of their exposure to PFOS.188

           Contemporaneous to 3M’s toxicity testing on PFOS, 3M also learned that their PFAS

products exhibited extraordinarily long half lives in humans – in other words that they were

bioaccumulative. For example, an internal 3M timeline indicates that in June of 1976 that “results

from previously exposed laboratory personnel indicate that organically based fluorine remains in

the blood for an indefinite period.”189



                                                                               ”190



184
      See Pl. Ex. 36, Butenhoff Dep. Ex. DL13, at 3M_AFFF_MDL00080700.
185
   See Pl. Ex. 56, Gerber Dep. Ex. DL8. The study author told his colleagues that this was a “significant finding,” and
concluded that “the public health issue [is] simply one of frequency and type of exposure to 3M products.” See Gerber
Dep. Ex. LP203, attached to London Decl. as Ex. 175, at 3MA10035580.
186
      See Pl. Ex. 126, Gerber Dep. Ex. DL1353, at 3M_AFFF_MDL02174949.
187
      See Pl. Ex. 36, Butenhoff Dep. Ex. DL13, at 3M_AFFF_MDL0080705.
188
      See id. at 3M_AFFF_MDL0080704-05.
189
      See Pl. Ex. 56, Gerber Dep. Ex. DL8, at 3M_BELL00054590.
190
      See Gerber Dep. Ex. DL1391, attached to London Decl. as Ex. 176, at 3M_AFFF_MDL01789405.

                                                         47
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                                                    .”191

           Likewise, a pair of March 1979 Clinical Report Summary indicates that 3M also

investigated the fate and transport characteristics of its PFAS to determine how they could have

infiltrated the bodies of literally every American. These studies found that these PFAS products

were “water soluble,” “resistant to microbial degradation,” “highly mobile” in soil, and that “it

appears that waterways are the environmental sink,” and therefore concluded that PFOS “has a

potential for widespread distribution in the environment.”192 The report included the below

schematic illustrating how PFAS waste would be expected to end up in drinking water sources

around the country.193




191
      See 3M_GU00030075, attached to London Decl. as Ex. 177, at 3M_GU00030088.
192
      See Mader Dep. Ex. DL22, attached to London Decl. as Ex. 178, at 3M_BELL01639316-23.
193
      See Mader Dep. Ex. DL23, attached to London Decl. as Ex. 179, at 3M_BELL01947256.

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population195 despite being advised by EPA that “when in doubt: report”196 – a decision made at

the highest levels within 3M.197

                    3.        The Information 3M Provided to the Government Failed to
                              Accurately and Adequately Disclose the Risks Associated with 3M’s
                              AFFF Products

           3M maintains that “in the 1980s, [it] shared worker health and animal toxicology studies

with the government and the public” and that “3M repeatedly disclosed such information to EPA

and other government agencies in the 1980s.”198 But a closer inspection of its disclosures reveals

them to be incomplete, accompanied by assurances of no potential harm and followed by

contradictory information.

           For example, 3M directs the Court to a worker study by 3M’s Dr. F. A. Ubel and a rat

teratology (birth defect) study that was disclosed to the EPA in November 1980.199 Both studies




195
      See Pl. Ex. 58, Gerber Dep. Tr., at 90:23-91:25.
           Q: True or false: By 1980, 3M was in possession of information that PFOS was a bioaccumulative
           compound, that it was widespread in the blood of the general population, and that it killed rhesus
           monkeys that were exposed to it. […]


           A: Based on my review of the documents, 3M had all of – had those pieces of information […]
           but […] all of that information needs to be put together and judgment applied to making a TSCA 8I
           reporting decision.


           Q: Right. And 3M did that. 3M had all of that information and decided not to disclose it at that time
           in 1980, right?


           A: Yes. I’ve reviewed documents that – you know, after the – those studies were conducted, that
           information was reviewed against EPA’s reporting criteria, and the company made the
           determination that the information was not substantial risk information under TSCI(e).
196
      See Gerber Dep. Ex. DL1552, attached to London Decl. as Ex. 181, at 3M_AFFF_MDL02315927.
197
   See Gerber Dep. Ex. DL1553, attached to London Decl. as Ex. 182; 3M_AFFF_MDL02342766, attached to
London Decl. as Ex. 183.
198
      3M Mot. at 12.
199
      3M Mot. at 12-13.

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“disclosures” to EPA were hardly designed to raise alarm or concern with the agency, rather they

conveyed the exact opposite message.

            3M again misled the Government in March 1982. There, the TSCA Interagency Testing

Committee206 (“ITC”) requested information from 3M pertaining to the PFOS precursor POSF.

The ITC sought to conduct an “in depth review” so as to “determine whether or not the chemical

warrants designation by the EPA Administrator for priority consideration for health and

environmental effects testing.”207 The ITC directed 3M to the Federal Register for “the kinds of

information that would be most helpful [to the ITC] in assessing” the chemical.208 The Federal

Register identified evidence of human exposure, including specifically “non-occupational

exposure” as the type of information it was seeking.209 Rather than inform the ITC that 3M was

aware210 that a metabolite of POSF (and thus evidence of exposure to POSF-based products211)

was known to be present in the blood of the general population, 3M instead claimed that only



206
   The ITC is made up of the Council on Environmental Quality, Department of Commerce, Environmental Protection
Agency, National Cancer Institute, National Institute of Environmental Health Sciences, National Institute for
Occupational Safety and Health, National Science Foundation, Occupational Safety and Health Administration,
Consumer Product Safety Commission, Department of Agriculture, Department of Defense, Department of the
Interior, Food and Drug Administration and ATSDR. https://www.epa.gov/assessing-and-managing-chemicals-
under-tsca/interagency-testing-committee (last visited June 17, 2022).
207
      See Gerber Dep. Ex. DL1228, attached to London Decl. as Ex. 190.
208
      See id.
209
  See Gerber Dep. Ex. DL1554, attached to London Decl. as Ex. 191; Olsen Dep. Ex. DL1233, attached to London
Decl. as Ex. 192, at 8244-8246.
210
      See Pl. Ex. 58, Gerber Dep. Tr., at 328:2-9:


            Q: Okay. So again, just to recap, at this point in time in 1982, 3M had been provided information suggesting
            that a metabolite of POSF was present in the blood of the general population, right?


            A: Information suggesting that from the Guy and Taves articles and 3M’s blood bank analysis.


211
    See Dep. Tr. of 3M epidemiologist Geary Olsen (Vol. I), dated Apr. 8, 2021, attached to London Decl. as Ex. 193,
at 42:15-43:4 (agreeing that PFOS in human blood is evidence of exposure to POSF).

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“100 employees are potentially exposed to [POSF] on a regular basis” and that “an additional 30

employees are potentially exposed less than five days a year” – drastically misrepresenting the

true scope of human exposure.212 This submission to the ITC similarly misrepresented what 3M

knew about the POSF/PFOS stating that “no information found” with respect to the metabolism

of POSF, even though 3M possessed study results indicating POSF products metabolize to PFOS;

stating that “no information was found” with respect to environmental concentrations even though

3M knew that the United States general population has approximately 30 ppb of PFOS in their

blood; and that with respect to its potential to bioaccumulate that “POSF will not bioaccumulate

to any appreciable extent” even though 3M possessed studies indicating that the POSF metabolite,

PFOS does indeed bioaccumulate.213 Unsurprisingly, the ITC did not require 3M to conduct any

additional studies for its consideration at that time.

           3M similarly downplayed to DoD the environmental and human health risks associated

with AFFF. For example, 3M represented to DoD that “data available from standard toxicity

tests” indicate that AFFF was “relatively innocuous.”214 In 1974, 3M told NRL that its AFFF was

biodegradable and presented no adverse effects on the environment.215 3M even went so far as to

advertise its AFFF as “biodegradable, low in toxicity, and it can be treated in biological treatment

systems.”216 Eric Reiner, 3M’s Environmental Specialist, repeatedly downplayed concerns about

the use of AFFF through the 1980s. In response to concern about potential groundwater

contamination from the use of AFFF at Mather Air Force Base, Reiner claimed that 3M’s AFFF



212
      See Gerber Dep. Ex. DL1230, attached to London Decl. as Ex. 194, at 3M_AFFF_MDL00460300-301.
213
      See Gerber Dep. Ex. DL1428, attached to London Decl. as Ex. 195, at 4.
214
      See Pl. Ex. 98, Darwin Dep. Ex. DL53, at Navy02-00007167.
215
      See Pl. Ex. 99 at Navy02_00007025.
216
      See Pl. Ex. 100 at 3M_BELL03194250; Pl. Ex. 101 at 3M_BELL02617425.

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“is practically nontoxic,” and stated that “we do not expect that hazardous levels of groundwater

contamination are likely to result from your usage of the 3M product.”217 Reiner also asserted that

water that does not foam when shaken has low or no AFFF and is even drinkable.218 Thus

conveying the dangerously misleading notion that so long as your drinking water does not foam

when shaken, it is safe to consume. Mr. Reiner provided a similar response to George Hess at

EPA, calling 3M’s AFFF “considerably less toxic than jet fuel.”219 Suggesting spilled jet fuel

from a fire is somehow worse than the AFFF agent used to douse the fire, when 3M was well

aware that PFOS was mobile in soil, toxic to animals, in the blood of virtually every American,

and already knew the pathways by which PFOS would get into nation’s drinking water, is grossly

misleading and likely intended to convey a false sense of security.

            In 1988, even Mr. Reiner began to express his concerns over the companies’

misrepresentations to the department of Navy, and others, stating in an internal memo that “I

don’t think it is in 3M’s long-term interest to perpetuate the myth that these fluorochemical

surfactants are biodegradable. It is probable that this misconception will eventually be discovered,

and when that happens, 3M will likely be embarrassed, and we and our customers may be fined

and forced to immediately withdraw from the market.” 220 Prophetically, Mr. Reiner was correct

as both predictions came true. 3M withdrew from the market in 2000, and in 2006, 3M was fined

by the EPA for failing to disclose “substantial risk information” in regards to both PFOA and

PFOS.221 3M’s misrepresentations of safety continued through the 1990s. The company’s 1993



217
      See Pl. Ex. 102, Walker Dep. Ex. BB816, at 3M_BELL01440788 (Mar. 15, 1983).
218
      See id.
219
      See Pl. Ex. 103 (Aug. 16, 1983).
220
      See Butenhoff Dep. Ex. DL61, attached to London Decl. as Ex. 196, at 3M_BELL00050768.
221
      See 060-0036-0000321, Ex. 159, at 060-0036-0000324.

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Product Toxicity Summary Sheet for FC-203CF Light Water Brand AFFF claims that following

animal studies, the company concluded that FC-203CF is considered practically non-toxic orally

and dermally and only “moderately irritating” to the eyes under the conditions of this study.222




                                                                  .223 In 1998, 3M’s head toxicologist, Dr.

Butenhoff, calculated an “estimation of ‘safe’ reference level (ppb) of PFOS” in blood at 1.05

ppb.224 This calculation led to the conclusion that PFOS was “very persistent” and thus

“insidiously toxic,” as per a confidential 1998 memorandum from Dr. Butenhoff’s custodial

file.225 Rather than share Dr. Butenhoff’s opinion and safe dose reference with the government,

3M told the EPA that it “does not believe that any reasonable basis exists to conclude that PFOS

‘presents a substantial risk of injury to health or the environment.’”226 Plaintiffs have found zero

evidence that this safe reference dose was shared with the EPA, nor the fact that 99% of

Americans were estimated to have PFOS blood levels in excess of the level determined to be

“safe” by 3M around the time that calculation was conducted.227 Clearly, this safe dose assessment

represents another example of material safety information that 3M possessed and failed to disclose.

           3M continued to downplay the risks in using of AFFF until at least 2000, telling customers

that AFFF “does not pose a risk to people” and that AFFF “are safe to use.”228 In its letter to



222
      See Pl. Ex. 104.
223
      See Pl. Ex. 105, Santoro Dep. Ex. DL65, at 3M_AFFF_MDL00384561 (                                   ).
224
      See Butenhoff Dep. Ex. DL157, attached to London Decl. as Ex. 197.
225
      See Butenhoff Dep. Ex. DL1, Ex. 140.
226
      See Pl. Ex. 50, Gerber Dep. Ex. DL353, at 3M_BELL02796621.
227
      See Mader Dep. Ex. LP200, attached to the London Decl. as Ex. 198, at 3M_BELL01333307, 310, and 322-23.
228
      See Schuster Dep. Ex. LP841, Ex. 139.

                                                        55
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AFFF customers, 3M went so far as to specifically state “[u]se of these products does not pose a

risk to people,” and “will remain effective for years,” and that “there’s no reason to return any of

these products you may have un your inventory.”229 These statements are particularly egregious

in light of the fact that by 1997, internal 3M material safety data sheets for PFOA (which was

present in 3M’s LightWater as an impurity and used in LightWater formulations in the 1960s),

explicitly warned that PFOA was “a chemical which can cause cancer,” citing two animal studies

where rats exposed to PFOA developed various tumors, including Leydig cell tumors in one study

and a triad of tumor types in a second study, which formed the basis for the cancer warning.230

Notably, the cancer warning in the 1997 MSDS for PFOA in subsequent years is conspicuously

omitted.

            Finally, 3M’s pattern of inaccurate and incomplete disclosures to the government

materially impacted the actions the government took with respect to PFOS and PFOA containing

products. When 3M finally disclosed to EPA in 1998 that 3M’s C8-containing AFFF products

were found in human blood – a disclosure that 3M admitted could have occurred in 1980 – EPA

took action, noting it “was prompted by reports submitted to the agency describing the toxic

properties and widespread presence in the environment, including in human populations…”231 In

2006, EPA fined 3M for its “failures to notify EPA on new chemicals, and late reporting on

substantial risk information” as to PFOA and PFOS.232 Thus, there can be no question that the



229
      See id.
230
      See Hakes Dep. Ex. DL36, attached to London Decl. as Ex. 199, at 3M_MN05419464.
231
      See Pl. Ex. 51 at 3M_AFFF_MDL01669634.
232
   See 066-0133-0102913, Ex. 167. It is notable that Dupont was fined by the EPA for failing to disclose data it
possessed pertaining to PFOA blood levels of the general population, leading EPA to state that “the human serum
sampling data are particularly useful because they represent an attempt to associate body burden in the general
population with a specific exposure pathway and a source of exposure. This data is information that reasonably
supports the conclusion that PFOA presents a substantial risk of injury to human health…” In re E. I. Du Pont de


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government’s actual knowledge did not match that of 3M’s because 3M withheld substantial risk

information as evidenced by this fine.

         The complete lack of candor on 3M’s part is incompatible and totally at odds with the

underlying the purpose of the government contractor defense as espoused in Boyle. Far from

allowing the government to employ its discretion to use 3M’s AFFF with full, complete and

accurate knowledge of the product, 3M shanghaied the government and abused its privileges.

Under these circumstances, the Boyle standards have not been satisfied.

                  4.       3M Ignores Evidence Showing that the Government Did Not Know of
                           the Hazards Posed by 3M’s AFFF

         The picture 3M paints of the government’s actual knowledge relies exclusively on

scientific articles and regulatory disclosures 3M made decades ago, disregarding the actual

testimony from the government. Specifically, DoD witnesses testified that they did not possess

actual knowledge of any of the information contained in 3M’s disclosures. For instance, Mr.

Darwin testified that he did not know that PFOS was a fluorosurfactant in 3M’s AFFF until after

2000, and, prior to that time, did not have the “slightest idea” what PFOA and PFOS even were.233

Similarly, Mr. Farley, testified that prior to 2000, he had never heard of PFOS.234 This evidence ,

in and of itself, is more than sufficient to raise a question of fact as to whether the government

possessed actual knowledge of the environmental and health hazards associated with 3M’s AFFF

products.




Nemours & Co., Docket No. TSCA-HQ-2005-5001 (Compl. & Notice of Opportunity for Hr’g), dated Dec. 6, 2004,
attached to London Decl. as Ex. 200, at 7.
233
    See Pl. Ex. 2, Darwin Dep. Tr. Vol. I, at 46:23-47:2 (testifying that prior to 2000, he did not know that PFOS was
a fluorosurfactant in 3M’s AFFF and did not have the “slightest idea” what PFOA and PFOS were) and 109:6-21
(testifying that he had never heard of PFOS or PFOA until sometime in the 2000s after he left the Navy.)
234
    See Pl. Ex. 35, Farley Dep. Tr. Vol. I, at 89:15-24 (confirming he learned that PFOS was in 3M’s MilSpec AFFF
in approx. May 2000).

                                                         57
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        In light of the above, it is clear that there are numerous instances where 3M’s internal

knowledge regarding the dangers associated with C8-containing AFFFs was far superior to that of

government. In most cases, this was knowledge that 3M failed to disclose fully and transparently

to government. These failures to be transparent with the government diminished its understanding

of the dangers posed by C8-containing AFFFs. As a result of these failures, the government lacked

actual knowledge concerning dangers posed by C8-containing AFFF, which is relevant to the

government’s continued use of these AFFFs under prong one of Boyle as well as to Boyle prong

three insofar as it evidences a failure of 3M to warn of dangers known to it but unknown to

government. Finally, the record substantiates that had 3M been transparent with government

concerning the dangers posed by C8-containing AFFFs, then government’s decision making with

respect to C8-containing AFFFs would have been different.

V.      ARGUMENT IN OPPOSITION TO THE MOTION OF THE TELOMER
        DEFENDANTS

     The Telomer Defendants have failed to carry their burden of proof with respect to the second

and third prongs of Boyle that no genuine issues of fact exist, and thus are not entitled to the

Government Contractor Defense.

        A.      Issues of Fact Exist as to Whether Telomer-Based AFFF Products Conformed
                to MIL-F-24385 at All Relevant Times, Precluding Summary Judgment as to
                the Second Prong of Boyle

        The Telomer Defendants’ argument for why they satisfy the second prong of Boyle is

overly simple. They contend that the mere listing of their AFFFs on the QPL is proof that Boyle

prong two has been satisfied. This reasoning is fundamentally flawed




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                                                                 .




                .245




                                                        .”246



                                                                                          .247




                                                                                    . The Telomer

Defendants have failed to prove that there are no issues of fact regarding their compliance with the

MilSpec and thus have failed to meet the second prong of Boyle.




245
      See also, § III.A, supra.
246
      See TMM Ex. 25 at FF_NAVY02_000001104.
247
      See id.

                                                  62
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satisfied Boyle’s third prong.274 The evidentiary record supports the opposite conclusion. That is,

that despite common industry knowledge that telomer-based AFFFs degrade to PFOA in the

environment, both individually, and through the FFFC, the Telomer Defendants routinely

represented to the government that their telomer-based AFFFs do not contain or degrade to PFOA.

These misrepresentations, which the government accepted as accurate, rendered the government’s

knowledge related to C8-containing telomer-based AFFFs both incomplete and inaccurate.

Further, both individually and through the FFFC, the Telomer Defendants deceived the

government into the misconception that telomer-based C8-containing AFFFs were not associated

with PFOA whatsoever, and, as a result of these misrepresentations, the government should not be

concerned with PFOA in relation to AFFF.

          The proof is borne out by United States witnesses’ testimony that the government was

unaware that telomer-based AFFFs could degrade to PFOA. Finally, as set forth below in § V.B.7,

infra, through membership in the FFFC, the aggregate knowledge of the FFFC, as reflected in its

documents and statements, can be imputed to each individual member of the FFFC given

traditional agency principles that impute the agent’s knowledge (i.e., the FFFC) to that of the

principals (i.e., the individual members of the FFFC – which, historically, included each of the

moving Defendants).

                   1.       The Government Never Possessed Superior or Even Equal Knowledge
                            to that of Industry Regarding the Degradation of C8-Containing
                            Telomer-Based AFFFs to PFOA, or the Presence of PFOA in
                            Telomer-Based AFFFs.

           Contrary to the Telomer Defendants’ arguments, the record makes patently clear that the

government was not aware that C8-containing telomer based AFFFs degrade to PFOA. For



274
      See Telomer Defs.’ Mem. at 15.

                                                   69
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example, the testimony of United States witness, Curtis Bowling, who from 2001 until January

2013, served as the Assistant Deputy Undersecretary of Defense for Force Protection at the

DoD,275 proves that the government did not have actual knowledge of any degradation problem

with the Telomer Defendants’ products. When queried about a March 2001 email regarding his

understanding of concerns related to telomers degrading to PFOA, Mr. Bowling testified as

follows:

           Q:       …In his e-mail he says, “I’ll provide a draft emphasizing the dispersive
                    nature of AFFF and our concerns based on the degradation of telomer surfactants
                    to perfluorocarboxylic acids resembling PFOA.” Do you see that?

           A:       Yes.

           Q:       What was your understanding of that at the time, that sentence?

           A:       I have no idea. I don’t recall the e-mail, so I don’t know what my reaction
                    would have been other than that it was strange to get a letter from a contractor
                    working in a lab at an Air Force base out of chain of command asking me to do
                    something.

           Q:       Okay. What did you take him to mean by “our concerns based on the degradation
                    of telomer surfactants to perfluorocarboxylic acids resembling PFOA?”

           A:       Again, I don’t remember the email, so I don’t recall any reaction.

           Q:       Okay. Do you have an understanding of what that means sitting here today?

           A:       No.276

           Similarly, on this same point, Mr. Darwin, the original custodian of MIL-F-24385, testified

to a lack of knowledge of the defect:

           Q:       So it was your understanding even as of 2004, leaving aside the question of trace
                    amounts, that your understanding was in 2004 that these other telomer makers like
                    National Foam, like Buckeye…Chemguard, Tyco, that they did not use – that they
                    did not utilize either PFOS, PFOA or PFOA precursors?

275
    See Bowling Dep. Ex. DCC700, Decl. of Curtis Bowling, dated Sept. 23, 2021, attached to London Decl., as Ex.
228, ¶ 1.
276
      See Pl. Ex. 106, Dep. Tr. of Curtis Bowling, at 115:12-116:18 (Objs. omitted) (emphasis added).

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degrade to PFOA in the environment. This common industry knowledge was not only withheld

from the government, but the telomer-based AFFF manufacturers also each manipulated and

actively deceived the government into thinking that PFOA was not a problem associated with

telomer-based AFFFs.

                    3.       At All Relevant Times Kidde and National Foam Never Warned the
                             Government of the Dangers of C8-Containing AFFFs Degrading to
                             PFOA that were known to them but not the Government.

            Defendants Kidde and National Foam claim that, at all relevant times, the government’s

knowledge of the potential hazards of AFFF was either equal to, or exceeded that, of Defendants

Kidde and National Foam, because they did not have actual knowledge that their MilSpec AFFF

contained or degraded to PFOA until after the government.287 This argument is without merit.

First, although Kidde claims that it did not know until years after the government that its AFFF

contained constituents that degrade into PFOA,288 a 2001 email from then-Kidde employee, Anne

Regina, the so-called “Queen of Foam,” belies this argument. More specifically, in 2001, Ms.

Regina wrote to her Kidde colleague, Frank Fitch, that she spoke with Chang who said that “the

common understanding of telomer-based fluorosurfactants is that they break down to

carboxylates.”289 She went on to state “[m]ost of the telomer products would also have mixed

distributions, so that rules out breaking down to only PFOA.”290 In her deposition, Ms. Regina

explained that “Chang,” refers to “Chang Jho,”291 a current long-term employee of fluorosurfactant


287
      See Telomer Defs.’ Mem. at 21.
288
      Id.
289
   See Regina Dep. Ex. DL461, Ex. 147 (emphasis added). While the Defendants may claim that this one email cannot
serve as the basis of industry knowledge, this argument is baseless because it is far more than an email. This document
describes a conversation between two high-level and highly-experienced chemists, at two different companies in the
AFFF industry, wherein a third-highly respected scientist memorialized what was generally understood by industry at
the time. Namely, that C8s degrade to PFOA.
290
      See Regina Dep. Ex. DL461, Ex. 147.
291
      See Pl. Ex. 109, Dep. Tr. of Anne Regina, at 160:15-17.

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Finally, a fourth email, likewise from Mr. Dowling in 2002, notes that “Kidde (and other ‘Telomer’

derived AFFFs) do not have PFOA added per se, BUT it is chemically feasible that PFOA could

become present in small quantities as product becomes older or degraded.”300 In short, the evidence

proves that by 2001, not only did Kidde have actual knowledge that its AFFFs contained

constituents capable of degrading into PFOA, but also that this was common knowledge among

industry. Any denial of this evidence merely confirms the presence of disputed issues of fact as to

whether Defendant Kidde possessed actual knowledge that its telomer-based AFFFs degraded to

PFOA as early as 2001. Further, when this internal industry knowledge is juxtaposed against the

testimony of the government witnesses, who, in some cases, testified that even today they are

unaware that C8-contaning telomer-based AFFFs can degrade to PFOA,301 it becomes patently

obvious that a genuine issue of fact exists regarding the comparative knowledge as between the

government and Defendant Kidde insofar as degradation of telomer-based AFFFs to PFOA is

concerned.

           Despite what appears to be Kidde’s clear understanding that C8-containing telomer-based

AFFFs degrade to PFOA, when discussing its AFFFs with its customers, of which DoD was one,

Defendant Kidde deceived users through a sleight of hand in its marketing materials. For example,




           .”302 Of course, the sleight of hand in this correspondence being the lack of transparency

with respect to Kidde’s actual knowledge that the C8-constiuents in its AFFFs degrade to PFOA.

This discrepancy between what internal emails reveal with respect to industry knowledge, and the


300
      See Kidde_Defendants_00067848, attached to London Decl. as Ex. 237, at Kidde_Defendants_00067848.
301
      See § V.B.1 supra.
302
      See Regina Dep. Ex. DL480, Ex. 150.

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misrepresentations being made to customers, which included DoD, is precisely the type of

information that the government did not know and should have been warned of. However, not only

was the government not warned of the PFOA degradation concerns related to telomer-based

AFFFs, but, in fact, the government was misled to so that Defendant Kidde could protect its bottom

line by creating a façade of safety by distancing its AFFFs from PFOA. Such intentional conduct

is not only wanton and reckless but undeserving of the protections of governmental immunity.

         Defendant National Foam makes no independent arguments separate and apart from those

of Kidde concerning its relative knowledge vis-a-vis the government, other than to state that even

assuming that National Foam possessed all the information that was known to Kidde when it

acquired the Kidde assets in 2013, at that point in time, all information was already known to

government. This argument is not valid for several reasons.

         First, even assuming arguendo that the government knew everything known to National

Foam in 2013, National Foam was still under a duty to share internal information it had concerning

hazards associated with C8-contanining AFFFs.303

         Second, as has been clearly established above, the government’s knowledge on this point

was far inferior to that of Defendant Kidde. As such, since Defendant Kidde failed to demonstrate

that it was fully transparent with the government concerning the dangers posed by its C8-

containing telomer-based AFFFs, including their potential to degrade to PFOA, the defense should

likewise be unavailable to Defendant National Foam who asserts no separate basis for the

immunity beyond those espoused by Defendant Kidde.




303
    See Jowers v. Lincoln Elec. Co., 617 F.3d 346, 354–55 (5th Cir. 2010) (holding that a manufacturer must share its
internal knowledge even where the government possesses equal information.).



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           Third, with respect to Defendant Kidde, as a former member of the FFFC, the knowledge

of the FFFC, as set forth in their documents and statements can be imputed to it, as discussed in §

V.B.7, infra. Similarly, National Foam, as a current member of the FFFC, the knowledge of the

FFFC can similarly be imputed to National Foam. As such, the FFFC’s misleading claims that

telomer-based AFFFs neither contain nor degrade to PFOA are misrepresentations, which both

Defendants Kidde and National Foam can be held responsible, and which had the effect of inducing

the government into believing that any potential toxicity problems associated with PFOA were

irrelevant to the use of telomer-based AFFF foams. This deception clouded the government’s

discretion regarding the use of C8-containing AFFFs. As such, governmental immunity should not

cloak these Defendants who purposely distorted the government’s knowledge to suit their

illegitimate purposes.

                     4.    At All Relevant Times Chemguard Never Warned the Government of
                           the Dangers of C8-Containing AFFFs Degrading to PFOA that were
                           known to it but not the Government.

          Like its Co-Defendants, Defendant Chemguard misrepresented to its customers, including

the DoD, that its products did not contain PFOA, thereby intentionally misleading them into

thinking that their AFFFs have no association with PFOA. By way of example,




             .”304

despite industry knowledge by no later than 2001, that C8-containing telomer-based AFFFs could

degrade to PFOA.305



304
      See Pl. Ex. 111, Novac Dep. Ex. DL1134, at AFFFTC00418728.
305
      See Regina Dep. Ex. DL461, Ex. 147.

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                    5.      At All Relevant Times Buckeye Never Warned the Government of the
                            Dangers of C8-Containing AFFFs Degrading to PFOA that were
                            Known to it but Not the Government.

          It is undisputed that Buckeye first listed an AFFF on the QPL in 2004.310 Initially, it is

important to point out that this is three years after the record establishes that it was common

industry knowledge that C8-containing AFFFs degraded to PFOA. Notwithstanding this imputed

knowledge,

                                                                              ,”311 once again, leaving out a

critical and material piece of safety information, namely, knowledge that its products degrade to

PFOA.

           Exemplifying Buckeye’s actual knowledge that its products would degrade to PFOA is a

2008 Buckeye internal email from Jim Devonshire, Buckeye Manger of Foam Business

Development Group, stating:

           In the case of the AFFFs, a mixture of surfactants is used, one of which contains a
           perfluoro-octyl group. This surfactant is also made starting with C8F17I by reaction first
           with ethylene to form C8F17C2H4I that is then converted to C8F17C2H4SH in a multistep
           process. The C8F17C2H4SH is then reacted with 15 moles of acrylamide to form an
           oligomer. That oligomer is the surfactant.

           There is no PFOA in any of our products but it is theoretically possible for the acrylamide
           oligomer described above to biodegrade to PFOA.312

           Notwithstanding this irrefutable knowledge on the part of Buckeye that its AFFFs could

degrade to PFOA, it was nonetheless telling its customers, which includes DoD, that its AFFFs

did not contain PFOA, to create the impression that its AFFFs do not have a PFOA problem. Once

again, these misrepresentations by omission deprived the government of significant and material



310
      See Telomer Defs.’ Mem. at 23.
311
      See Devonshire Dep. Ex. 3, attached to London Decl. as Ex. 239, at BF00203759.
312
      See Vegso Dep. Ex. DL1734, attached to London Decl. as Ex. 240 (emphasis added).

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                   6.      At All Relevant Times Ansul and Tyco Never Warned the
                           Government of the Dangers of C8-Containing AFFFs Degrading to
                           PFOA that were Known to them but not the Government.

           Tyco Fire Products LP (formerly The Ansul Company)(“Tyco/Ansul”) first qualified a

telomer-based AFFF onto the QPL as early as 1976.316 In fact, in the early 1960’s, Ansul, along

with 3M, was involved in the development of the first AFFF LightWater formulations for the

NRL.317 Specifically, in 1964, Ansul reached an agreement with 3M to test its LightWater

formulations at Ansul’s facilities in exchange for being 3M’s exclusive distributor of LightWater

for sales outside of the federal government.318

           As it was fully immersed in the AFFF industry since the beginning, Tyco/Ansul had

perhaps the most knowledge of the moving Telomer Defendants pertaining to the fluorosurfactant

components of their AFFF. For example, in 1982, when the Navy inquired about the animal

teratogenicity of Ansul’s AFFF, Ansul reassured them that, “there is not any absorption or

inhalation of the fluorochemicals used in ANSULITE AFFF products into the human body. Since

the material is not accumulated in the body the question of whether or not it is a teratogen is really

moot.”319

           Regarding the degradation of AFFF C8 fluorosurfactants to PFOA in the environment,

Tyco/Ansul had knowledge of such potential at least as early as 1998.




316
   See Engman Dep. Ex. DL342, Ex. 205, at 8; see also Walker Dep. Ex. BB797, attached to London Decl. as Ex.
242, at DYNAX0001202 (                                           ).
317
  See Pl. Ex. 32, Falco Dep. Ex. DL124 (“History of the Development of ‘Light Water’ Brand [AFFF]”), at
3M_AFFF_MDL01298000.
318
      See id. at 3M_AFFF_MDL01298001-02.
319
      See Bowling Dep. Ex. BB853, attached to London Decl. as Ex. 243, at AFFFTC00097498.

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he has respecting the subject matter’ of the relationship.”335 The only limitation to this imputation

principle is where the agent acts in a manner unauthorized by the principal or where the agent acts

“solely for its own purposes or those of another person.”336 However, where the principal and

agent are one and the same, as in this case, “the acts and knowledge of the agent will nonetheless

be imputed to the principal . . . even if the agent is acting adverse to the principal.”).337

Furthermore, “where the agent acquires information in furtherance of the agent-principal

relationship, that knowledge is deemed known by the principal.”338 “Under the general rule, the

knowledge imputed to the principal is considered actual knowledge, not constructive.”339

           Although, there are many cases holding that “mere membership in a trade association,

including attendance at meetings, is not sufficient to give rise to an inference of conspiracy [aka

knowledge], absent proof of knowing participation in the wrongful conduct,”340 these cases are

inapposite because typically they involve conspiracy and or allegations of unlawful conduct by the

trade association which is not at issue in this litigation.341 Here, Plaintiffs are simply imputing


association . . . [e]ach of the manufacturers thus became a principal, chargeable with the knowledge and conduct of
its agent.”) (citation omitted); see also Restatement (Third) of Agency § 5.03 (2006) (“For purposes of determining a
principal’s legal relations with a third party, notice of a fact that an agent knows or has reason to know is imputed to
the principal if knowledge of the fact is material to the agent’s duties to the principal.”); Restatement (Second) of
Agency § 9 (1958).
335
      Doe v. NSA, 1998 U.S. App. LEXIS 27053, at *6 (4th Cir. 1998) (citation omitted).
336
      Richardson v. All. Residential Co., 2020 U.S. Dist. LEXIS 75285, at *22-23 (D. Md. 2020).
337
      In re Derivium Capital LLC), 716 F.3d 355, 368 (4th Cir. 2013).
338
      Richardson, 2020 U.S. Dist. LEXIS 75285, at *22-23 (citation omitted).
339
      Martin Marietta Corp, 70 F.3d at 773 n. 4 (citation omitted) (emphasis added).
340
   In re Asbestos Litig., 509 A.2d 1116, 1120-21 (Del. Super. Ct. 1986) (citing N.A.A.C.P. v. Claiborne Hardware
Co., 458 U.S. 886, 920 (1982)).
341
    See, e.g., Feldman v. North British Mercantile Ins. Co., 137 F.2d 266 (4th Cir. 1943) (“mere membership in the
body or contribution of dues or money to effectuate the common purpose does not make all the members liable for
unlawful acts of the association done without their participation and without their knowledge or approval”) (emphasis
added); AD/SAT v. AP, 181 F.3d 216, 234 (2d Cir. 1999) (“In situations where a trade association, its officers,
employees or members are found to have violated the antitrust laws, membership in the association will not
automatically involve all members in the violation [absent] evidence of actual knowledge of, and participation in, the
illegal scheme in order to establish a violation of the antitrust laws by a particular association member.”) (emphasis


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                  8.       The Telomer Defendants have failed to Meet their Burden of Proving
                           the Third Prong of Boyle

         Although each AFFF Telomer Defendant claims that its knowledge of dangers posed by

C8-containing telomer-based AFFFs was never greater than the government’s knowledge, the

above discussion proves otherwise. Having controverted Defendants’ factual contentions

regarding what each defendant knew vis-à-vis the government, there remains myriad questions of

fact for the jury.

         Without an undisputed factual record, it is impossible to render any ruling as a matter of

law. And Defendants’ authorities offer no support to the contrary given the factual circumstances

present in this litigation. The Telomer Defendants rely on three non-binding cases, namely,

Haltiwanger v. Unisys Corp., 949 F. Supp. 898, 904 (D.D.C. 1996), Stout v. Borg-Warner Corp.,

933 F.2d 331, 336-37 (5th Cir. 1991) and In re Agent Orange Prod. Liab. Litig., 304 F. Supp. 2d

404, 435 (E.D.N.Y. 2004), in support of their argument that prong three of Boyle is satisfied so

long as the government possesses the same actual knowledge regarding an alleged defect as the

government contractor.

         The Telomer Defendants’ reliance on these three cases is misplaced. First, in Haltiwanger,

the United States Postal Service was aware of injuries posed by a letter sorter used by employees

of the Postal Service, in part, because of its decades long experience with the letter sorters that



of all the information about their products that is known or knowable in the community at large, including information
known to industry and trade associations. See, e.g., Mack v. Stryker Corp., 748 F.3d 845, 849–50 (8th Cir. 2014); see
George v. Celotex Corp., 914 F.2d 26, 29 (2d Cir. 1990) (asbestos manufacturer charged with knowledge of
information in unpublished report that manufacturer never received and never saw); Borel v. Fibreboard Paper Prods.
Corp., 493 F.2d 1076, 1089–90 (5th Cir. 1973); Brown v. Raymond Corp., 318 F. Supp. 2d 591, 597–98 (W.D. Tenn.
2004) (A reasonable manufacturer “is presumed to be ‘omniscient.’”); Carolina Home Builders, Inc. v. Armstrong
Furnace Co., 191 S.E.2d 774, 779 (S.C. 1972).



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resulted in injury from an open and obvious defect in the product. Additionally, the government

was aware of the defect as a result of the government’s participation in the design of the letter

sorter. Here, as discussed in Plaintiffs’ Original Opp., the government did not participate in the

design of Mil-Spec AFFF, rather, the government’s involvement was limited to identifying

performance parameters.345 Further, as discussed above, open and obvious mechanical defects are

not equivalent to chemical toxicity assessments involving latent human harm resulting from toxic

exposures. As such, Haltiwanger provides no support for the telomer Defendants’ position.

            Stout is equally inapposite. In Stout, the court held that the government contractor defense

applied finding that the government had knowledge of the dangers posed by the air conditioning

unit at issue in that case. The court specifically noted that there was an express warning in the

technical manual that warned against the precise injury the plaintiff claimed.346 Moreover, the

court noted the danger posed by the fan was open and obvious to anyone even had the express

warning not been provided.347 Clearly, that is not the case here. In fact, it is undisputed that the

telomer-based AFFF manufacturers provided no warning on their AFFFs that the products would

degrade to PFOA in the environment, and, in fact, articulated the opposite to AFFF users, that is,

that the telomer-based AFFFs did not contain PFOA. Moreover, there is nothing open and obvious

either about the fact that telomer-based AFFFs degrade to PFOA and/or that PFOA is harmful to

humans and the environment, in fact, if such were the case, then the telomer AFFF manufacturers

would be hard pressed to claim that they were unaware of the dangers posed by their products.

            Lastly, in In re Agent Orange Prod. Liab. Litig., 304 F. Supp. 2d 404 (E.D.N.Y 2004),

again, the government at all times had actual knowledge of the defect at issue with Agent Orange,


345
      See Pls.’ Original Opp. at 24-25.
346
      Stout, 933 F.2d at 336.
347
      Id.

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i.e., the presence of Dioxin, a known toxic agent to humans. In that case, the government’s

specifications were very precise, specifically calling for a recipe for Agent Orange, to include

equal parts of 2,4, 5-T and 2,4-D,348 all the while knowing that dioxin would be present in the

herbicide. On this score, Agent Orange courts found as a fact: “No one can reasonably dispute

the fact that the government possessed information about the potential dangers of Agent Orange

that was as great as, if not greater than, that possessed by the defendants.”349 Such is not the case

here, where, the clear testimony from witnesses from the United States is that they were entirely

unaware at all relevant times that telomer-based AFFFs had the potential to degrade to PFOA, and,

further were told by industry that no such defect existed. As such, the facts are entirely contrary to

those in In re Agent Orange, and thus it provides no support for the telomer Defendants’ position.

           As discussed above, at all relevant times, the government was entirely unaware that telomer

MilSpec AFFFs contained and/or degraded to PFOA, and further, were told the opposite by the

telomer MilSpec AFFF manufacturers. As such, to the extent that the government was on notice

of any toxicity concerns related to PFOA following 3M’s phaseout of C8-chemistires in 2000,

and/or as a result of the EPA’s subsequent opening of administrative docket for PFOA (AR-226),

the EPA would not have associated such potential harms with telomer-based AFFF given nearly

15-year campaign of deception by the telomer-based AFFF manufacturers to distance themselves

from problems associated with PFOA. With the government being purposely misinformed by its

suppliers of the dangers of AFFF, there is no sound policy reason to find that Boyle prong three

has been satisfied or that immunity is warranted.




348
    These facts are diametrically opposite to the AFFF MilSpec which gave carte blanche discretion to the
manufactures to choose a fluorocarbon surfactant and for which the government had no idea what the formulation was
for any manufacturer’s trade secret products.
349
      Miller, 275 F.3d 414 at 421.

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VI.        CONCLUSION

           As detailed above and summarized in the attached Index of Material Facts in Dispute,350

multiple genuine issues of material fact remain for the jury to decide, thus precluding summary

judgment. Plaintiffs respectfully request that the Court deny Defendants’ Motion for Partial

Summary Judgment on the Second and Third Prongs of the Government Contractor Immunity

Defense and grant such other relief as the Court deems just and proper.


Dated: June 17, 2022                                         /s/ Fred Thompson, III
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350
      See Appendix.

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed with

this Court’s CM/ECF on this 17th day June 2022 and was thus served electronically upon counsel

of record.

                                                             /s/ Fred Thompson, III




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                                            APPENDIX A

                         INDEX OF MATERIAL FACTS IN DISPUTE
                           PURSUANT TO LOCAL RULE 7.05(A)(4)

        Plaintiffs object to every statement set forth in the “Common Undisputed Facts” section of

Defendants’ Omnibus Motion for Partial Summary Judgment on the Second and Third Elements

of the Government Contractor Immunity Defense, including those referenced and/or incorporated

therein. Dkt. 2346-1, pp. 8-10.


      The following is a non-exhaustive list of issues of fact in dispute, the details of which are set

forth throughout Plaintiffs’ Brief in Opposition and Plaintiffs’ Original Opp., which is

incorporated by reference herein:

•     Is the AFFF MilSpec reasonably precise?
•     Did the AFFF MilSpec require the use of PFOS or PFOA?
•     Was the AFFF formula left to the discretion of the AFFF manufacturers?
•     Did the AFFF manufacturers’ AFFF comply with the Mil-Spec at all times?
•     Do the defendants possess superior knowledge of the defects associated with AFFF?
•     Did 3M learn in 1975 that PFOS was present in the blood of the general population?
•     When did the government first learn that PFOS was present in the blood of the general
      population?

•     When did the government first learn PFOS was present in the blood of the general
      population and that AFFF was a potential source of the PFOS?

•     When did the defendants have actual knowledge of the potential toxicity of PFOA or PFOS?
•     When did the government have actual knowledge of the potential toxicity of PFOA or PFOS?

•     When did the government actually know that PFOA or PFOS is present in AFFF?

•     Does the US Government have actual knowledge of the defects associated with AFFF?
            o If so, when did it obtain that knowledge?
§     Did the government continue to use AFFF actually knowing that doing so would result in
      harm to people?
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§     Did the government continue to use AFFF actually knowing that doing so would contaminate
      water supplies?

•     Does C8-based AFFF degrade to PFOA?
            o If yes, when was this actually known to defendants and the government?
•     Did the telomer defendants intentionally mislead the government by claiming that their AFFF
      did not degrade to PFOA?

•     Did the telomer defendant statements that their AFFF did not contain PFOA or PFOS mislead
      the government and impact its decisions regarding using AFFF?

•     Were the defendants truthful and forthright in communications to plaintiffs, the public,
      regulators and the scientific community?

•     Does PFOA or PFOS cause human harm?
•     Did the defendants withhold “substantial risk information” pertaining to PFOA and/or PFOS
      from the government?

•     Did the timing of the defendants’ disclosures delay regulatory action by the government?

            o And if so, for how long?




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